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 ~AO 18] (Rey 7/87} Exhibit and Witness List                          c--
                                                                 7
                                                  UNITED STATES DISTRICT COURT
                             SOUTHERN                                                   DISTRICT OF                                    FLORIDA



                                       USA
                                                                                                                   EXHIBIT AND WITNESS LIST
                                         V.
                           M.D. Jose Santeiro                                                                           Case Number: 21CR60020 WPD

 PRESIDING JUDGE                                                     PLAINTIFF'S ATTORNEY                                     DEFENDANT'S ATTORNEY
  William P. Dimitrouleas                                            J. de Boer, J. Hayes. ~                                  S.Vora-Puglisi, M. Beaton, D.Carames
 TRIAL DATE (S)i
  2/28/2022-i\ \          '? /,z. ,.
 PLF.      DEF.           ATE
 NO.       NO.         OFFERED




                                                                                                                          N




• Include a notation as to the location' of any exhibit not held with the case file or not available because of size.

                                                                                                                                    Page I of   1    Pages
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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                              Case No. 21-CR-60020-DIMITROULEAS/SNOW

      UNITED STATES OF AMERICA

      v.

      JOSE SANTEIRO,

                              Defendant.
      - - - - - - - - - - - - - -I
                            LIST OF ADMITTED GOVERNMENT EXHIBITS




 2         3/16/2022   3/16/2022                           Count 2 Summary Exhibit


 3         3/16/2022   3/16/2022                           Count 3 Summary Exhibit


 4         3/16/2022   3/16/2022                           Count 4 Summary Exhibit


 5         3/16/2022   3/16/2022                           Count 5 Summary Exhibit


 6         3/16/2022   3/16/2022                           Count 6 Summary Exhibit


 7         3/16/2022   3/16/2022                           Count 7 Summary Exhibit


 8         3/16/2022   3/16/2022                           Count 8 Summary Exhibit


 9         3/16/2022   3/16/2022                           Count 9 Summary Exhibit


                                                   Compass Detox DCF Licenses Composite
101        2/28/2022   2/28/2022
                                                     (COMPASS-0000296598-296620)

                                     January 31, 2017 Compass Detox Organizational Chart Submitted to DCF
103        2/28/2022   2/28/2022
                                                         (COMPASS-0000301494-95)




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                                December 27, 2018 Compass Detox DCF Application (COMPASS-0000300421-
107    2/28/2022   2/28/2022
                                                                 526)

                                               Compass Detox Organization Chart (2019-2020)
109    2/28/2022   2/28/2022
                                                        (COMPASS-0000300319)

                               May 17, 2017 Email from Dominic Sasso to Barbara Irizarry, Jonathan Markovich
llOA   2/28/2022   2/28/2022                              re: DCF-Site-Visit 6-6-17
                                                        (COMPASS-0000789221-22)
                                   Jan_uary ~2, 2020 Email from Douglas Soave to Joseph Santeiro, Jonathan
                               Markovich, Richard Waserstein, Daniel Markovich, Others re: Scheduled Audit for
111    2/28/2022   2/28/2022
                                                               March 4th, 2020
                                                         COMPASS-0001107851-52
       3/9/2022    3/9/2022
                                                       WAR DCF Licenses Composite
113
                                                      (COMPASS-0000296621-296628)

                                                   August 23, 2018 WAR DCF Application
114    2/28/2022   2/28/2022
                                                      (CO¥PASS-0000298577-728)

                                            December 3, 2018 WAR Medical Director Agreement
116    2/28/2022   2/28/2022
                                                        (COMPASS-0000298153)

                                              2016-2017 Compass Detox Policies & Procedures
120    2/28/2022   2/28/2022
                                                      (COMPASS-1948875 - 9086)
       3/9/2022    3/9/2022
                                        2018 WAR Policies & Procedures (Signed by Joseph Santeiro)
121
                                                  (COMPASS-0000298022-298153)

                                                 2020 Compass Detox Policies & Procedures
122A   2/28/2022   2/28/2022
                                                       (COMPASS-0001948625-874)

                                                      2019 WAR Policies & Procedures
123    2/28/2022   2/28/2022
                                                       (COMPASS-0001951524-749)

                                                      2020 WAR Policies & Procedures
124    2/28/2022   2/28/2022
                                                       (COMPASS-0001950599-781)

                                             Florida Administrative Code Chapter 65D-30 (2020)
126    2/28/2022   2/28/2022
                                                       (COMPASS-0001958906-68)

                                               BCBS - Compass Detox Registration Summary
133    3/1/2022    3/1/2022
                                                      (COMPASS-0000305477-82)

                                                BCBS - WAR Network Registration Summary
137    3/1/2022    3/1/2022
                                                       (COMPASS-0000305506-11)


138    3/1/2022    3/1/2022     Aetrla - Compass Detox, WAR, and Labs Data (20193905 SPM FL FBl4(MD))




                                                     2
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139    3/1/2022   3/1/2022             Aetna - Lab & Chiropractor Data (20192905 SPM FL FBI2)


140    3/1/2022   3/1/2022         BCBS - Compass Detox Data (Compass Detox 01.01.16 to 09.09.19)


141    3/1/2022   3/1/2022     BCBS - Compass Detox Data (Compass Detox 09.01.19 to 04.27.20 RFI info)


142    3/1/2022   3/1/2022       BCBS - Compass Detox Data (Compass Detox #RNH 04.01.20-11.09.20)


143    3/1/2022   3/1/2022               BCBS -WAR Data (War Network 01.01.16 to 09.09.19)


144    3/1/2022   3/1/2022           BCBS-WAR Data (War Network 09.01.19 to 04.27.20 RFI info)


145    3/1/2022   3/1/2022             BCBS- WAR Data (War Network #S4804.01.20-11.09.20)


146A   3/1/2022   3/1/2022                  BCBS - Laboratory Pros Data (01.01.17-06.30.17)


146B   3/1/2022   3/1/2022                 BCBS - Laboratory Pros Data (07.01.17 to 12.31.17)


146C   3/1/2022   3/1/2022                 BCBS - Laboratory Pros Data (01.01.18 to 12.31.18)


146D   3/1/2022   3/1/2022                 BCBS - Laboratory Pros Data (01.01.19 to 12.31.19)


146E   3/1/2022   3/1/2022         BCBS - Laboratory Pros Data (01.01.20 to 03.09.20 (No data Found))


147    3/1/2022   3/1/2022        BCBS -Lab Geeks Data (Lab Geeks RFI#HWBS5 01.01.17-05.20.20)


                             BCBS - Century Clinical Labs Data (Century Clinical Labs Claims Data 0 1.01.17-
148    3/1/2022   3/1/2022
                                                               06.30.17)


149    3/1/2022   3/1/2022       BCBS - Genesis Labs Data (Genesis Data Analytics 01.01.17 to 02.17.20)


150    3/1/2022   3/1/2022     BCBS - Genesis Labs Data (Genesis Medical Lab #L9244 02.01.20-11.09.20)




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151    3/1/2022    3/1/2022    BCBS - United Clinical Lab Data (United Clinical Lab #6PLRP 02.01.20-11.09.20)


                                 BCBS - Chiropractor Data (Data Analytics 01.01.17-02.17.20 (Same as Inner
152    3/1/2022    3/1/2022
                                                             Strength Chir))

                                 CIGNA-East - Compass Detox & WAR Data (Cigna East Medical Claim Data
153    3/16/2022   3/16/2022
                                                          20191104-96065)

                               CIGNA-East- Compass Detox & WAR Data (20191104-9605 East Claim Data Tax
154    3/16/2022   3/16/2022
                                                   ID's 611890618 and 812526348)

                               CIGNA-East- Compass Detox & WAR Data (East Claim Data Compass Detox &
155    3/16/2022   3/16/2022
                                                  We Are Recovery Network LLC)


156    3/16/2022   3/16/2022    CIGNA-East- Lab & Chiropractor Data (Combined Medical Data Spreadsheet)


                                   CIGNA-West- Compass Detox & WAR Data (CIGNA West Claim Data
157    3/16/2022   3/16/2022
                                                        20191104-96065)

                                   CIGNA-West - Compass Detox & WAR Data (CIGNA West Claim Data
158    3/16/2022   3/16/2022
                                   20191104-96065 West Claim Data Tax IDs 611890618 and 812526348)

                               CIGNA-West - Compass Detox & WAR Data (West Claim Data Compass Detox &
159    3/16/2022   3/16/2022
                                                   We Are Recovery Network LLC)


160    3/16/2022   3/16/2022       CBH - Compass Detox & WAR Data (CBH Claim Data 20191104-96065)


                               Magellan - Compass Detox Data (MHS-2018-04-00007 compass detox, Compass
161    3/16/2022   3/16/2022
                                                         All Billing 211910.17)


162    3/16/2022   3/16/2022            Magellan - WAR Data (20200213 Claims Data War Network)


163    3/16/2022   3/16/2022    Medical Mutual - Compass Detox & WAR Data (HEAT StrikeF orce20200407)


164    3/16/2022   3/16/2022    Medical Mutual- Compass Detox & WAR Data (HEAT StrikeForce20201102)


                                 Medical Mutual - Chiropractor Data (HeatStrikeforce 20200420 lab and inner
165    3/16/2022   3/16/2022
                                                           strength spreadsheet)


166A   2/28/2022   2/28/2022            Optum-UHC - Compass Detox Data ( 1128236_ Second Chance)




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166B   2/28/2022   2/28/2022                  (969100 Claims Data-Second Chance Detox Data)


167    2/28/2022   2/28/2022        Optum-UHC- WAR Data (969100 Claims Data-WAR Network Data)


168    2/28/2022   2/28/2022                ,Optum-UHC - WAR Data (1128236_WAR Network)


169    2/28/2022   2/28/2022               Optum-UHC-Lab Data (969100 Laboratory Pros Data)


170    2/28/2022   2/28/2022                     Optum-UHC - Lab Data (Century Clinical)


171A   2/28/2022   2/28/2022            Optum-UHC- Genesis Medical Labs Data (Genesis Med Lab)


171B   2/28/2022   2/28/2022       Optum-UHC- Genesis Medical Labs Data (1128236_Genesis Med Lab)


                                           Optum's Facility Based Reimbursement Policies (2016)
173A   2/28/2022   2/28/2022
                                                      (COMPASS-0001953877-81)

                                                  Optum' s Level of Care Guidelines (2017)
173B   2/28/2022   2/28/2022
                                                         (COMPASS-1954300-59)

                                                 Optum's National Network Manual (2020)
173C   2/28/2022   2/28/2022
                                                     (COMPASS-0001955219-311)

                                            Optum's National Provider Operations Manual (2020)
173D   2/28/2022   2/28/2022
                                            (COMPASS-0002079308-COMPASS-0002079347)

                                                  Optum October 2019 Pre-Payment Letter
173E   2/28/2022   2/28/2022                            (COMPASS-0002095032)


                                         November 29, 2018 Letter from Optum to Samantha Moreno
174    2/28/2022   2/28/2022
                                                       (COMPASS-0001955509-10)

                                         December 13, 2018 Letter from Optum to Samantha Moreno
175    2/28/2022   2/28/2022
                                                       (COMPASS-0001955501-02)

                               BCBS Manual for Physicians and Providers: Claim Submission Billing Guidelines
176A   2/28/2022   2/28/2022
                                                      (COMPASS-0002063701-808)

                                               BCBS - WAR Network Registration Summary
176C   3/2/2022    3/2/2022
                                                      (COMPASS-002063811-816)




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                                                           UB-04 Claim Form
176E    2/28/2022   2/28/2022
                                                        (COMPASS-0002063809-10)

                                       Asakim 18, LLC-Bank of America x8632 Combined Records
        3/16/2022   3/16/2022       (COMPASS-0000176226-459; COMPASS-0000267739-74; COMPASS-
201A                                                      0000360259-92)

                                                Asakim 18, LLC - Bank of America x8632
201B    3/16/2022   3/16/2022
                                                                (Wires)

                                         Blaze & Baci LLC- Wells Fargo x4612 Combined Records
 202    3/16/2022   3/16/2022
                                                      (COMPASS-0000268807-967)

                                    Boutique Billing & Consulting LLC - Chase x8062 Combined Records
203A    3/16/2022   3/16/2022
                                                     (COMPASS-0000246956 -247384)

                                    Boutique Billing & Consulting LLC - Chase x8062 Combined Records
'203B   3/16/2022   3/16/2022
                                     (x8062 - Boutique Billing & Consulting LLC - Transactions Excel)

                                          Christopher J. Garnto - Chase x9530 Combined Records
204A    3/2/2022    3/2/2022       (COMPASS-0000184300-333; COMPASS-0000266087-465; COMPASS-
                                 0000190059; COMPASS-000047385-48178; COMPASS-0000386602-386738)

                                                    Christopher J. Garnto - Chase x9530
204B    3/2/2022    3/2/2022
                                                (x9530 - Christopher Garnto-Transactions)

                                                   Christopher J. Garnto - Chase x9530
204C    3/2/2022    3/2/2022
                                              (x9530 - Christopher Garnto - Transactions (2))

                                                   Christopher J. Garnto - Chase x9530
204D    3/2/2022    3/2/2022
                                               (x9530 - Christopher J Garnto-Transactions)

                                                   Christopher J. Garnto - Chase x9530
204E    3/2/2022    3/2/2022
                                                         (Christopher Garnto_ 1)

                                       Check No. 1157 from WAR to Garnto dated December 30, 2019
204F    3/2/2022    3/2/2022
                                                        (COMPASS-0000386671)

                                         Christopher J. Garnto - Chase x8502 Combined Records
205A    3/2/2022    3/2/2022    (COMPASS-0000184230-299; COMPASS-0000190058; COMPASS-0000265428-
                                                  696; COMPASS-0000038931-39398)

                                                   Christopher J. Garnto - Chase x8502
205B·   3/2/2022    3/2/2022
                                               (x8502 - Christopher J Garnto-Transactions)

                                                   Christopher J. Garnto - Chase x8502
205C    3/2/2022    3/2/2022
                                               (x8502 - Christopher Garnto-Transactions)

                                                   Christopher J. Garnto - Chase x8502
205D    3/2/2022    3/2/2022                             (Christopher Garnto_2)




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                                        Check No. 1194 from WAR to Garnto dated April 22, 2020
205E   3/2/2022    3/2/2022
                                                      (COMPASS-0000265692)
                                        Closings.Com Inc. - Regions Bank x2369 Combined Records
                               (COMPASS-000074830-82254; COMPASS-0000250528-250937; COMPASS-
206    3/16/2022   3/16/2022
                               0002066970- COMPASS-0002067959; COMPASS-0002064968- COMPASS-
                                      0002066876; COMPASS-0002068228- COMPASS-0002074816)
                               Daniel E Markovich & Deborah B Waserstein - Regions Bank x8018 Combined
207    3/16/2022   3/16/2022                                     Records
                                                    (COMPASS-0000182627-182876)

                                     Daniel Markovich -American Express x3004 Combined Records
208    3/16/2022   3/16/2022
                                                  (COMPASS-0000180187-180349)

                                    Daniel Markovich - American Express 4-32006 Combined Records
209    3/16/2022   3/16/2022
                                                  (COMPASS-0000180113-180185)

                                     Daniel Markovich - Hancock Whitney x0356 Combined Records
210    3/16/2022   3/16/2022
                                                  (COMPASS-0000182503-182626)

                               Deborah B Waserstein & Jonathan Markovich - Regions Bank x4677 Combined
211    3/16/2022   3/16/2022                                   Records
                                                    (COMPASS-0000096723-96996)
                               Deborah B Waserstein & Richard Waserstein - Regions Bank xl 772 Combined
212    3/16/2022   3/16/2022                                   Records
                                                    (COMPASS-000073388- 73493)
                               Deborah B Waserstein & Richard Waserstein- Regions Bank x8762 Combined
213    3/16/2022   3/16/2022                                   Records
                                                   (COMPASS-00001371.17-137130)

                                          Elan Bakhshi- Wells Fargo x1499 Combined Records
214    3/16/2022   3/16/2022
                                                   (COMPASS-182469- 182498)

                                          Elan Bakhshi- Wells Fargo x0059 Combined Records
215    3/16/2022   3/16/2022
                                                    (COMPASS-182426-182468)

                                Erika Waserstein Schlacter & Richard Waserstein - Bank of America x1074
217    3/16/2022   3/16/2022                                Combined Records
                                      (COMPASS-00000000228-0000013991; 0000266501-266648)

                                          Frank Bosch, Jr. -TD Bank x5571 Combined Records
218    3/16/2022   3/16/2022
                                                   (COMPASS-0000194140-194850)

                                         Frank Bosch, Jr. - Wells Fargo x9272 Combined Records
219    3/16/2022   3/16/2022
                                                   (COMPASS-0000212229-212442)

                                     Frank J. Bosch, Jr. - Bank of America x9496 Combined Records
220    3/16/2022   3/16/2022
                                                   (COMPASS-0000217555-217616)

                                            G Jet Holdings - Chase x8032 Combined Records
221    3/16/2022   3/16/2022
                                            (COMPASS-0000286883 - 616; 286884-287152)



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                                      Jade Holdings LLC - Bank of America x7979 Coml;>ined Records
                                 (COMPASS-0002077015- COMPASS-0002077016; COMPASS-0002076695-
222    3/16/2022   3/16/2022       COMPASS-0002076697; COMPASS-0000175929-176225; COMPASS-
                                 0002076698- COMPASS-0002077013; COMPASS-0002077017- COMPASS-
                                                             0002077180
                                        Jade Holdings LLC - Marquis Bank x1383 Combined Records
223    3/16/2022   3/16/2022
                                                     (COMPASS-0000183104-183206)

                                      Jonathan Markovich- Bank of America x3890 Combined Records
224    3/16/2022   3/16/2022
                                                    (COMPASS-000015389-15468)

                                      Jonathan Markovich - Hancock Whitney x5906 Combined Records
225    3/16/2022   3/16/2022
                                                     (COMPASS-0000034766-34792)
                                                                     I



                                      Jonathan Markovich- Hancock Whitney x8791 Combined Records
226    3/16/2022   3/16/2022
                                                     (COMPASS-000034898-35090)

                                        Jonathan Markovich- Regions Bank x3714 Combined Records
227    3/16/2022   3/16/2022
                                      (COMPASS-0000093140-93625; COMPASS-0000252208-252314)

                                               Jonathan Markovich x3714 (Bank of America)
227A   3/16/2022   3/16/2022
                                                        (COMPASS-0000093529)

                                  Jonathan Markovich_ & Samuel Markovich - Regions Bank x3936 Combined
228    3/16/2022   3/16/2022                                     Records
                                                      (COMPASS-0000096606-96722)
                                Jonathan Markovich or Samuel Markovich- Hancock Whitney x5619 Combined
229    3/16/2022   3/16/2022                                     Records
                                                      (COMPASS-0000034690-34 765)
                                    Jonathan Markovich POD Daniel Eliezer Markovich - Iberia Bank x9682
230    3/16/2022   3/16/2022                                Combined Records
                                              (COMPASS-0000178226-178270; 182379-182398)
                                       Josh Development LLC - Regions Bank x9115 Combined Records
                               (COMPASS-0000141633-142611; COMPASS-0000260691-260833; COMPASS-
231    3/16/2022   3/16/2022
                                 0002066882- COMPASS-0002066969; COMPASS-0002063970-COMPASS-
                                        0002063973; COMPASS-0002076518-COMPASS-0002076660
                                      Laboratory Pros LLC - Bank of America x2645 Combined Records
232A   3/2/2022    3/2/2022
                                             (COMPASS-0000188697-189326; 189328-189748)
                                            Combined Checks from Laboratory Pros to Yeladim 18
                                 (COMPASS-0000189330-31; 189366-67; 189382-33; 189394-95; 189404-05;
232B   3/2/2022    3/2/2022
                               189418-19; 189428-29; 189348-49; 189442-43; 189454-55; 189476-77; 189484-85;
                                                                189494-95
                                Mended Bridge Investments LLC - Bank of America x3563 Combined Records
233A   3/2/2022    3/2/2022
                                   (COMPASS-0000178328-178590; COMPASS-0000178305-178327)

                                         Mended Bridge Investments LLC - Bank of America x3563
233B   3/2/2022    3/2/2022
                                             (x3563 Mended Bridge Investment LLC- Wire)




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                                                June 2019 Mended Bridge Bank Statement
233C   3/2/2022    3/2/2022
                                                    (COMPASS-0000178558-178563)

                                                July 2019 Mended Bridge Bank Statement
233D   3/2/2022    3/2/2022
                                                    (COMPASS-0000178564-178569)

                                          July 10, 2019 Check from Pattarapom Kamjanasiriwan
233E   3/2/2022    3/2/2022
                                                        (COMPASS-0000178372)

                                              February 2019 Mended Bridge Bank Statement
233F   3/2/2022    3/2/2022
                                                      (COMPASS-0000178528-33)

                                               March 2019 Mended Bridge Bank Statement
233G   3/2/2022    3/2/2022
                                                     (COMPASS-0000178534-41)

                                          Zelle transfer to Joey Humbert Bank of America x3563
233H   3/2/2022    3/2/2022
                                                          (COMPASS-0000178494)

                                 Michael Markovich or Jonathan Markovich or Deborah B Markovich - Chase
234    3/16/2022   3/16/2022                            x5916 Combined Records
                                                    (COMPASS-0000038457-38728)
                                         Recovery Empire LLC - Chase x2226 Combined Records
                                  (COMPASS-000036963-37133; COMPASS-0000184181-226; COMPASS-
235A   3/16/2022   3/16/2022
                               0000190051-190057; COMPASS-0000261914-262104; COMPASS-0000190048-
                                                                190050
                                                  Recovery Empire LLC - Chase x2226
235B   3/16/2022   3/16/2022
                                                (x2226 - Recovery Empire - Transactions)
                                                  Recovery Empire LLC - Chase x2226
235C   3/16/2022   3/16/2022                (x2226 - Recovery Empire LLC - Transactions (2))


                                                 Recovery Empire LLC - Chase x2226
235D   3/16/2022   3/16/2022
                                             (x2226 - Recovery Empire LLC - Transactions)

                                                  Recovery Empire LLC - Chase x2226
235E   3/16/2022   3/16/2022
                                                      (Recovery Empire, LLC_4)

                                              Payments from Rise Again to Recovery Empire
235F   3/16/2022   3/16/2022
                                                    ( COMPASS-000036970-3 7066)

                                   Recovery Empire LLC - Chase x2226 payment to Jonathan Markovich
235G   3/16/2022   3/16/2022                         (COMPASS-000003 7054-65)


                                                   Chase x2226 Zelle payment to N.S.
235H   3/16/2022   3/16/2022
                                                      (COMPASS-0000184201)

                                          Richard Waserstein - BB&T x5598 Combined Records
236    3/16/2022   3/16/2022
                                                   (COMPASS-0000033937-34022)



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                                        Richard Waserstein - Hancock Whitney x2456 Combined Records
237    3/16/2022    3/16/2022
                                                        (COMPASS-000034527-34672)

                                          Richard Waserstein ITF Tzvi Josh - Bank of America x4875
238    ·3/16/2022   3/16/2022
                                        (COMPASS-0000015469-15780; 27252-27261; 266871-266952)

                                    Richard Waserstein ITF Tzvi Josh Waserstein & Ella Kayla Waserstein -
239    3/16/2022    3/16/2022                   Sabadell/Iberia Bank x3129 Combined Records
                                              (COMPASS-0000182244-182361; 177307-177418)
                                Richard Waserstein POD (Erika, Gabriella, Tatiana, Tzvi Josh, Ella)-,- Iberia Bank
240    3/16/2022    3/16/2022                                        x9593
                                              (COMPASS-0000178203-178225; 182362-182378)
                                Richard Waserstein POD's Erika, Gabriela, Tatiana, Tzvi Josh & Ella Waserstein-
241A   3/16/2022    3/16/2022                     Bank of America x5611 Combined Records
                                                 (COMPASS-16223-27261; 266953-267352)
                                Richard Waserstein POD's Erika, Gabriela, Tatiana, Tzvi Josh & Ella Waserstein-
241B   3/16/2022    3/16/2022                              Bank of America x5611
                                                                (x5611 -Debits)
                                Richard Waserstein POD's Erika, Gabriela, Tatiana, Tzvi Josh & Ella Waserstein-
241C   3/16/2022    3/16/2022                              Bank of America x5611
                                                               (x5611 - Reports)

                                  Right Direction Recovery LLC - Bank of America x9122 Combined Records
242A   3/16/2022    3/16/2022
                                              (COMPASS-0000176460-176662; 267775-267822)

                                            Right Direction Recovery LLC - Bank of America x9122
242B   3/16/2022    3/16/2022
                                            (x9122 Right Direction Recovery LLC - Deposits Index)

                                 Second Chance Detox DBA Compass Detox - BB&T x3283 Combined Records
243    3/16/2022    3/16/2022
                                                      (COMPASS-000033180-33214)

                                 Second Chance Detox DBA Compass Detox - BB&T x9483 Combined Records
244A   3/16/2022    3/16/2022
                                       (COMPASS-000034248-34331; 188606-188646; 286237-286292)

                                          Second Chance Detox DBA Compass Detox - BB&T x9483
244B   3/16/2022    3/16/2022
                                    (x9483, x3275 Second Chance Detox LLC - Combined Statement Index)
                                Second Chance Detox LLC -American Express x3-63008 (fmly 3-6200, 3-61002,
                                  3-61010, 3-61028, 3-61036, 3-61004, 3-61051, 3-61069, 3-61077) Combined
245    3/16/2022    3/16/2022                                                  \
                                                                  Records
                                                       COMPASS-0000179097-179877
                                    Second Chance Detox LLC - Bank of America x9054 Combined Records
246    3/16/2022    3/16/2022
                                       (COMPASS-0000189799-189842; 28261-28326; 360293-360374)
                                       Second Chance Detox LLC - BB&T x3275 Combined Records
247A   3/16/2022    3/16/2022   (COMPASS-0000187780-188308; 0000031516-33179; 285547-285824; 266700-
                                         266701;285542-285545;29013-29016; 187774-187777)
                                                   Second Chance Detox LLC - BB&T x3275
247B   3/16/2022    3/16/2022
                                               (x3275 - Second Chance Detox LLC - Items Index)



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                                                 Second Chance Detox LLC - BB&T x3275
247C   3/16/2022   3/16/2022
                                  (x9483, x3275 - Second Chance Detox LLC - Combined Statements Index)

                                             TCCOM LLC - TD Bank x9449 Combined Records
248    3/16/2022   3/16/2022
                                                  (COMPASS-0000195967 -196353)
                                The 2003 Waserstein Family Trust Agreement - Regions Bank x544 l Combined
249    3/16/2022   3/16/2022                                      Records
                                            (COMPASS-0000097363-99743; 257027-257350)
                                     WAR Network LLC - American Express 2-41000 Combined Records
250    3/16/2022   3/16/2022
                                                  (COMPASS-0000179985-1801 l 1)

                                       WAR Network LLC - Bank of America x9326 Combined Records
251    3/16/2022   3/16/2022
                                      (COMPASS-0000189843-189884; 360451-360546; 217373-217554)
                                        WAR Network LLC - BB&T x8858 Combined Records
252A   3/16/2022   3/16/2022      (COMPASS-0000188309- 188605; 34023-34247; 363011-363019; 285825-
                                               286236;29017-29018; 187778-187779)
                                                    WAR Network LLC - BB&T x8858
252B   3/16/2022   3/16/2022
                                                 (x8858 - War Network LLC - Items Index)

                                                   WAR Network LLC - BB&T x8858
252C   3/16/2022   3/16/2022
                                              (x8858 - War Network LLC - Statements Index)

                                 Waterstone Capital Largo Holdings - Regions Bank x8656 Combined Records
253    3/16/2022   3/16/2022
                                                      (COMPASS-0000122529-137082)

                               Waterstone Capital Management LLC-Bank of America x3551 Combined Records
254A   3/16/2022   3/16/2022     (COMPASS-0000175209-175928; 360099-360202; 266702-266819; 175209-
                                                         175928; 174944-174953)
                                       Waterstone Capital Management LLC- Bank of America x3551
254B   3/16/2022   3/16/2022
                                                          (Wires D021120000642)

                                       Waterstone Capital Management LLC - Bank of America x3 551
254C   3/16/2022   3/16/2022
                                                                (Wires)
                               Waterstone Healthcare Management LLC - American Express 8-41000, 8-41018, 8-
255    3/16/2022   3/16/2022                         41026, 8-42024 Combined Records
                                                      (COMPASS-0000179879-179983)
                                 Waterstone Healthcare Management LLC - Bank of America x9200 Combined
                                                                 Records
256A   3/16/2022   3/16/2022
                                (COMPASS-0000176663-176947; 359913 - 360082; 360375 - 360450; 359717-
                                                                 359912
                                      Waterstone Healthcare Management LLC - Bank of America x9200
256B   3/16/2022   3/16/2022
                                        (x9200 - Waterstone Healthcare Management LLC- Checks)

                                      Waterstone Healthcare Management LLC - Bank of America x9200
256C   3/16/2022   3/16/2022
                                       (x9200- Waterstone Healthcare Management LLC-Deposits)



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                                    Waterstone Healthcare Management LLC- Bank of America x9200
256D   3/16/2022   3/16/2022
                                               (x9200 - Waterstone Healthcare - Deposits)

                                      Yeladim 18, LLC - Bank of America x1358 Combined Records
257    3/16/2022   3/16/2022
                                           (COMPASS-0000266649•266682; 285351-285540)

                                     Ness Group Foundation- Marquis Bank x9575 Combined Records
258    3/16/2022   3/16/2022
                                        (COMPASS-0000183292 - 0000183395; 182959-183103)

                                      Ness Group Foundation - Marquis Bank x9575 Communications
258A   3/16/2022   3/16/2022
                                                     (COMPASS-0000182959-103)

                                Ness Group Foundation - Marquis Bank x9575 Account Opening Documents
258B   3/16/2022   3/16/2022
                                                    (COMPASS-0000183292-361)

                                    Ness Group Foundation - Marquis Bank x.9575 Account Statements
258C   3/16/2022   3/16/2022
                                                    (COMPASS-0000183362-395)

                                      Ness Group Foundation - Iberia Bank x8769 Combined Records
259    3/16/2022   3/16/2022
                                                   (COMPASS-0000178183-178202)

                                                     Certificate of Beneficial Owners
259A   3/16/2022   3/16/2022
                                                      (COMPASS-0000178185-94)

                                             X8769 Ness Group Foundation, Inc. - Statements
259B   3/16/2022   3/16/2022
                                               (COMPASS-COMPASS-0000178195-200)

                                   Richard Waserstein - Marquis Bank Loan - x7850 Combined Records
260    3/16/2022   3/16/2022
                                                   (COMPASS-0000183207-183291)

                                      Ness Group Foundation - Iberia Bank x2971 Combined Records
261    3/16/2022   3/16/2022
                                                   (COMPASS-00001772767177306)

                                                     Certificate of Beneficial Owner
261A   3/16/2022   3/16/2022
                                                      (COMPASS-0000177263-72)

                                        X2971- Ness Group Foundation, Inc. -Activity Statement
261B   3/16/2022   3/16/2022
                                                     (COMPASS-0000177276)
                                Richard Waserstein and Jonathan Markovich - Iberia Loan - x0090 Combined
                                                                Records
262    3/16/2022   3/16/2022
                               (COMPASS-0000177273-177274; 177263-177272; 000000202-11; COMPASS-
                                                              0002079348
                                             Ness Group Foundation, Inc. x0090 - Loan Docs
262A   3/16/2022   3/16/2022                          (COMPASS-0000177277-306)


                                         Ness Group Foundation, Inc. x0090 - Loan Renewal Docs
262B   3/16/2022   3/16/2022
                                        (COMPASS-0000359573-92; COMPASS-000,0359568-72)



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                                    X0090 Richard Waserstein and Jonathan Markovich- Loan History
262C   3/16/2022   3/16/2022
                                                    (COMPASS-0000177273-74)

                                                          X0090 Wire
262D   3/16/2022   3/16/2022
                                                  (COMPASS-0002079348-20793 52)

                                      Ness Group LLC - Ocean Bank x0205 Combined Records
263A   3/16/2022   3/16/2022     (COMPASS-0000048631- 81; 2059782-818; 2059819-852; 2059853-876;
                                                   2059877-880;2059773-75)

                                                 Ness Group LLC-Ocean Bank x0205
263B   3/16/2022   3/16/2022
                                                   (x:0205 Ness Group LLC - Excel)

                                        Ness Group LLC- Ocean Bank x5520 Combined Records
264A   3/16/2022   3/16/2022
                                        (COMPASS-000052054 - 060; 2059881-84; 2059776-78)


264B   3/16/2022   3/16/2022     Ness Group LLC- Ocean Bank x5520 (x5520 - Ness Group LLC - Excel)

                                   Waterstone Closings Inc. - Regions '3ank x4059 Combined Records
                               (COMPASS-000207667 4- COMPASS-0002076693; COMPASS-0002067994-
265    3/16/2022   3/16/2022
                                COMPASS-0002068227; COMPASS-0002063974- COMPASS-0002064964;
                                           COMPASS-0002074817- COMPASS-0002076517
                                       Closings.com Inc. - Regions Bank x0974 Combined Records
                               (COMPASS-0002076664 - COMPASS-0002076673; COMPASS-0000073364-
266    3/16/2022   3/16/2022
                                73387; 250469-250506; COMPASS-0002067960- COMPASS-0002067993;
                                           COMPASS-0002064965- COMPASS-0002064967
                                     Jade Holdings, LLC - Ocean Bank x9305 Combined Records
268A   3/16/2022   3/16/2022
                               (COMPASS-0000055835 - 55843; 2059885-911; 2059912-913; 2059779-781)


268B   3/16/2022   3/16/2022      Jade Holdings, LLC - Ocean Bank x9305 (x9305 - Jade Holdings LLC)


                                            Compass Detox PPP Loan from Ocean Bank
269A   3/16/2022   3/16/2022
                                        (COMPASS-0000249102-103; 249107-115; 247389-174)

                                              Compass Detox PPP Loan from Ocean Bank
269B   3/16/2022   3/16/2022
                                                     (SBA_CapitalAcces_ Data)

                                            WAR Network PPP Loan from Ocean Bank
270A   3/16/2022   3/16/2022
                               (COMPASS-0000249175-249215; COMPASS-0000308733-37; 247415-47440)

                                              WAR Network PPP Loan from Ocean Bank
270B   3/16/2022   3/16/2022
                                                   (SBA_CapitalAcces_ Data)

                                              WAR Network PPP Loan from Ocean Bank
270C   3/16/2022   3/16/2022
                                                   (SBA_CapitalAccessData)

                                       Jade Holdings LLC - Iberia Bank x5785 Combined Records
271    3/16/2022   3/16/2022
                                            (COMPASS-0000177695-177858; 24339-243601)


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                                               Jade Holdings LLC - Iberia Bank x5793 Combined Records
272        3/16/2022   3/16/2022
                                            (COMPASS-0000177859-178024; COMPASS-0000243602-243798)

                                       Waterstone Healthcare Management LLC - Bank of America x2023 Combined
273        3/16/2022   3/16/2022                                      Records
                                               (COMPASS-000013992-14189; 360085-98; 174987-175200)

                                                          Compass Detox Gusto Payroll Records
274A       3/16/2022   3/16/2022 ·
                                                             (Employee lnformation.xlsx)
                                                         ·. Compass Detox Gusto Payroll Records
274B       3/16/2022   3/16/2022                                (employees-report(l ).xlsx)


                                                          Compass Detox Gusto Payroll Records
275A       3/16/2022   3/16/2022
                                                             (Contractor Information (1))

                                                           Compass Detox Gusto Payroll Records
275B       3/16/2022   3/16/2022       (contractor-information-second-chance-detox-contractor-information-2020-09-
                                                                         28.xlsx)
                                                              Compass Detox Payroll Records
276        3/16/2022   3/16/2022        (Contractor Payments; contractor-payments-second-chance-detox-contractor-
                                                         payments-2020-03-01-to-2020-09-28 .xlsx)

                                                                WAR Gusto Payroll Records
277A       3/16/2022   3/16/2022
                                                                (Employee Information.xlsx)

       I

       . 3/16/2022                                            WAR Gusto Payroll Record~
277B                   3/16/2022
                                                           (employees-report-war-network.xlsx)

                                                                WAR Gusto Payroll Records
278A       3/16/2022   3/16/2022
                                                                (Contractor Information.xlsx)

                                                               WAR Gusto Payroll Records
278B       3/16/2022   3/16/2022
                                     (contractor-informmation-war-network-llc-contractor-information-2020-09-28.xlsx)

                                                              WAR Gusto Payroll Records
279A       3/16/2022   3/16/2022
                                                            (Contractor Payments Report.xl!,x)

                                                              WAR Gusto Payroll Records
279B       3/16/2022   3/16/2022      (contractor-payments-war-network-llc-contractor-payments-2020-03-01-to-2020-
                                                                      09-28.xlsx)

                                                          Compass Detox ADP Payroll Records
280        3/16/2022   3/16/2022
                                                           (COMPASS-0000182890-182926)

                                                              Christopher Garnto CashApp
281        3/2/2022    3/2/2022
                                                    (10096-for-subject-SQ_CASH-C_s4cyapmal .xlsx)

                                                                Elan Bakhshi CashApp
282        3/16/2022   3/16/2022
                                                   (10390-for-subject-SQ_CASH-C_00dyphmbw.xlsx)




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                                                       Mario Kustura CashApp
283A   3/16/2022   3/16/2022
                                          (10096-for-subject-SQ_CASH-C_ 8yp3kqyqv.xlsx)

                                                      Mario Kustura CashApp
283B   3/16/2022   3/16/2022
                                          (10096-for-subject-SQ_CASH-C_s6ezppypp.xlsx)

                                                      Christopher Garnto Vemno
284    3/2/2022    3/2/2022
                                                     (COMPASS-0000174651-54)

                                   Christopher Garnto, Elan Bakhshi, Mario Kustura Western Union
285    3/2/2022    3/2/2022                       (988469 WU results 040920.xlsx)


                                                     Frank Bosch Western Union
286    3/16/2022   3/16/2022
                                                      (990989-WU Results.xlsx)

                                                Sunseeker Yacht Combined Records
287    3/16/2022   3/16/2022
                                                   (COMPASS-386961-386984)

                                   Promissory Note Between Richard Waserstein and Compass Detox
288    3/16/2022   3/16/2022
                                                    (COMPASS-0001712241-47)

                               July 27, 2018 Ness Group, LLC Loan Account Agreement with Ocean Bank
289    3/16/2022   3/16/2022
                                                      (COMPASS-2059663-772)

                                      Jade Holdings - Ocean Bank Account Opening Information
290    3/16/2022   3/16/2022
                                                   (COMPASS-0002059627-662)


                                    Loan x6663 Ness Group LLC- Ocean Bank Combined Records
291    3/16/2022   3/16/2022                    (COMPASS-0002059914-2061434)



                                             Daniel Markovich Chase Account x3684
292A   3/16/2022   3/16/2022
                                         (COMPASS- 0000174839-COMPASS-0000174914)

                                             Daniel Markovich Chase Account x0501
292B   3/16/2022   3/16/2022
                                          (OMPASS-0000174675- COMPASS-0000174715)

                                             Daniel Markovich Chase Account x2606
292C   3/16/2022   3/16/2022
                                         (COMPASS-000017 4716- COMPASS-000017 4 719)

                                           Daniel Markovich Chase Account x3621
292D   3/16/2022   3/16/2022
                                   (COMPASS-0000174721- COMPASS- COMPASS-0000174838)

                                             Daniel Markovich Chase Account x5580
292E   3/16/2022   3/16/2022
                                         (COMPASS-0000174915- COMPASS-0000174916)

                                             Daniel Markovich Chase Account x8907
292F   3/16/2022   3/16/2022
                                         (COMPASS-0000174919- COMPASS-0000174938)


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                                       Second Chance Detox LLC x2205 - Ocean Bank Combined Records
293A    3/16/2022   3/16/2022
                                              (COMPASS-0000249102-COMPASS-0000249174)

                                          WAR Network LLC x6505 - Ocean Bank Combined Records
293B    3/16/2022   3/16/2022
                                            (COMPASS-0000249175-COMPASS-0000249215)

                                             Jonathan Markovich x4981 - Chase Combined Records
 294    3/16/2022   3/16/2022
                                              (COMPASS-0000037 408-COMPASS-000003 74 76)

                                             Daniel Markovich x6166-Discover Combined Records
 295    3/16/2022   3/16/2022
                                              (COMPASS-0000184430-COMPASS-0000 184780)


 296    3/2/2022    3/2/2022                            Check Stub from WAR Network

                                    June 21, 2017 Email from Christopher Garnto to Barbara Irizarry, Jonathan
437A    3/2/2022    3/2/2022               Markovich, Daniel Markovich re: Lap Pros Documentation
                                                          (COMPASS-0000634273-74)
                                                      Attachment- Assignment of Benefits
437B    3/2/2022    3/2/2022
                                                           (COMPASS-0000634275)

                                                        Attachment-Test Request Form
437C    3/2/2022    3/2/2022
                                                           (COMPASS-0000634276)

                                July 10, 2017 Email from Christopher Garnto to Tara Hemerick, Samantha Moreno,
 443    3/2/2022    3/2/2022       Gabrielle Kaczor, Jonathan Markovich, Daniel Markovich re: Cleint Aftercare
                                                            (COMPASS-0000618560)
                                 December 27, 2018 Email Chain between David Lynch, Drew Lieberman, Daniel
                                 Markovich, Jonathan Markovich, Marie Chery, Lindy Pilgrim, Others re: Valium
 489    3/14/2022   3/14/2022
                                                                     Tapers
                                                           COMPASS-0000599100-01
                                         Elan Bakhshi Facebook Page - 6-12 - 19 -2018 Chat with K.M.
581BB   3/11/2022   3/11/2022
                                              (COMPASS-0000320567 - COMPASS-0000320606)

                                  WhatsApp Chat between Jesse Munach, Eric Aday, Samantha Moreno, Others
 587    3/15/2022   3/15/2022
                                            (Jesse Munach-2020.10.13_1A (WhatsApp Chat))

                                                           Photo from Jesse Munach
 588    3/15/2022   3/15/2022
                                                           (COMPASS-00003654 73)

                                   November 2, 2017 Whatsapp Messages between Christopher Garnto, Baron
591A    3/2/2022    3/2/2022              Lebourgeois, Jonathan Markovich, Daniel Markovich, Others
                                              (COMPASS-0002063650- COMPASS-0002063655)
                                   November 2, 2017 Whatsapp Messages between Christopher Garnto, Baron
591B    3/11/2022   3/11/2022             Lebourgeois, Jonathan Markovich, Daniel Markovich, Others
                                              (COMPASS-0002063436- COMPASS-000206343 8)
                                 January 4, 2018 Whatsapp Messages between Chris Ward, Jonathan Markovich,
591D    3/8/2022    3/8/2022                      Christopher Garnto, and Daniel Markovich
                                              (COMPASS-0002063501- COMPASS-0002063503)



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,,
                                     February 19, 2018 Whatsapp Messages between Christopher Garnto, Chris Ward,
     591E   3/8/2022    3/8/2022                         Daniel Markovich, Jonathan Markovich
                                                   (COMPASS~0002063497- COMPASS-0002063498)
                                      May 23-24, 2018 Whatsapp Messages between Jonathan Markovich, Stephanie
     591G   3/2/2022    3/2/2022                     Peiffer, Daniel Markovich, Christopher Garnto
                                                   (COMPASS-0002063648- COMPASS-0002063649)
                                     January 11, 2019 Whatsapp Messages between Jonathan Markovich, Christopher
     5911   3/2/2022    3/2/2022        ·             Garnto, Stephanie Peiffer, Daniel Markovich   ·
                                                   (COMPASS-0002063518- COMPASS-0002063535)
                                    May 10, 2019 Whatsapp Messages between Jonathan Markovich, Stephanie Peiffer,
     591P   3/2/2022    3/2/2022                          Daniel Markovich, Christopher Garnto
                                                   (COMPASS-0002063624- COMPASS-0002063627)
                                    June 6, 2019 Whatsapp Messages between Jonathan Markovich, Daniel Markovich,
     591Q   3/2/2022    3/2/2022                 Sam Vital, Christopher Garnto, Samantha Moreno, Others
                                                   (COMPASS-0002063561- COMPASS-0002063574)
                                     July 10, 2019 Whatsapp Messages between Jonathan Markovich, Taly, Samantha
     591T   3/8/2022    3/8/2022                           Moreno, Christopher Garnto, Others         .J
                                                   (COMPASS-0002063551- COMPASS-0002063560)

                                    June 20, 2018 Whatsapp Messages between Elan Bakhshi and Jonathan Markovich
     592B   3/11/2022   3/11/2022
                                                            (COMPASS-0002061943-48)

                                       August 22, 2018 Whatsapp Messages between Elan Bakhshi and Jonathan
     592C   3/11/2022   3/11/2022                                   Markovich
                                                          (COMPASS-0002061949-53)
                                      November 19, 2018 Whatsapp Messages between Jonathan Markovich, Daniel
     592D   3/11/2022   3/11/2022                    Markovich, Chris Garnto, and Elan Bakhshi
                                                          (COMPASS-0002061954-64)

     701    3/16/2022   3/16/2022                              Summary of Claims Data


     702    3/16/2022   3/16/2022                               Most Utilized Patients


     703    3/16/2022   3/16/2022                              Level of Care Summary


     704    3/16/2022   3/16/2022                             Patient Recycling Summary


     705    3/16/2022   3/16/2022                    Orders for Comfort Drink at Compass Detox


     706    3/17/2022   3/17/2022                        Summary of Medications Prescribed


     707    3/16/2022   3/16/2022                              Frequency ofUA Testing




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709    3/16/2022   3/16/2022                            Medical Review ofUA Results


716    3/16/2022   3/16/2022                      Summary of L.L. and C.C. Admissions


717    3/16/2022   3/16/2022                            Summary ofB.H. Admissions


721    3/16/2022   3/16/2022               Outflows to Jonathan Markovich & Richard Waserstein


722    3/16/2022   3/16/2022                            Outflows to Daniel Markovich


723    3/16/2022   3/16/2022                         Outflows to Christopher Garnto

       3/9/2022    3/9/2022
                                                  Dr. Waller Admissions Summary
736C
                                           COMPASS-0002063677; COMPASS-0001953559-65)
       3/9/2022    3/9/2022                    Al - BH Admit #5 _Intake Screening Compass
                                                              08-06-2019
739A
                                                      (COMPASS-0002000039-53)

       3/9/2022    3/9/2022          A2 - BH Admit #2_WAR_Client discharge summary v2 - 08.08.2019
739B                                                 (COMPASS-0001968396-8400)

       3/9/2022    3/9/2022
                                                    A3 BH - WAR Admission 2 - Labs
739C
                                                      (COMPASS-0002095033-87)
       3/9/2022    3/9/2022         A4 - BH Admit #5 _Admission ASAM (DETOX Level III) 08-06-2019
739D                                                  (COMPASS-0002000322-27)

       3/9/2022    3/9/2022              A5- BH Admit #5 Admission Doctors Order - 08-06-2019
739E                                                (COMPASS-0002000310-11)

       3/9/2022    3/9/2022
                                        A6 - BH Admit #5 Pain Screen & Assessment - 08-06-2019
739F
                                                     (COMPASS-0001999981-82)
       3/9/2022    3/9/2022
739G                                A7 - BH Admit 5_Chiro Order - 08-6-2019 (COMPASS-0002037821)

       3/9/2022    3/9/2022
                               A8 - BH Admit 5_IPE and HP Assessment- 08-07-2019 (COMPASS-0002000012-
739H
                                                                 36)
       3/9/2022    3/9/2022
7391                               A9 - BH Admit 5_Transfer Note 08-07-2019 (COMPASS-0001999730)




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       3/9/2022   3/9/2022                  AlO BH- Compass Admission 5 - MARs_PRNs
                                                   (COMPASS-0002095088-04)
739]

                                         A 11 - BH Admit 5_physician Readmit Note 8-11-2019
       3/9/2022    3/9/2022
739K                                                 (COMPASS-0001999977)
       3/9/2022    3/9/2022                   A12 - BH Admit 5 Clinical Notes 8.16.2019
                                                      (COMPASS-0002000235)
739L
       3/9/2022    3/9/2022
                                   AB - BH Admit #5_ Concurrent Individual Therapy Note 8.14.2019
739M                                              (COMPASS-0002000202-05)
       3/9/2022    3/9/2022
                                 A14 -BH Admit #5_Group Note - Coping Skills 8.19.2019 (COMPASS-
739N                                                     0002000081)
       3/9/2022    3/9/2022
                                     A15 - BH Admit #5_Group Note - Relapse Prevention 8.16.2019
7390                                                  (COMPAS-0002000068)
       3/9/2022    3/9/2022
                                   A16 - BH Admit #5_Concurrent Individual Therapy Note 8.19.2019
739P                                               (COMPASS-0002000198-01)
       3/9/2022    3/9/2022
                                   A 17 - BH Admit #5 _ Group Note - Recovery Management 8.20.2019
739Q                                                   (COMEASS-0002000070)
       3/9/2022    3/9/2022
                                     A18 - BH Admit #5_Group Note - Anger Management 8.21.2019
739R                                                (COMPASS-0002000086-87)
       3/9/2022    3/9/2022
739S                             A19 - BH Admit #5_Clinical Notes 8.22.2019 (COMPASS-0002000234)

       3/9/2022    3/9/2022   A20 - BH Admit #5_ ABSENT (No show) Group Note - Emotional Intelligence
739T                                                       8.25.2019
                                                    (COMPASS-0002000361)
       3/9/2022    3/9/2022
                              A21 - BH Admit #5_ABSENT (No show) Group Note - Just for Today 8.25.2019
739U
                                                    (COMPASS-0002000360)
       3/9/2022    3/9/2022
                                       A22 - BH Admit #5_ Discharge Inventory Items - 8.26.2019
739V
                                                     (COMPASS-0002000105)
       3/9/2022    3/9/2022
                                       A23a - BH Admit #5_Client discharge summary- 8.26.2019
739W
                                                   (COMPASS-0002000249-57)
       3/9/2022    3/9/2022
                                  A23b - BH Admit #5_Discharge and Aftercare Information - 8.26.2019
739X
                                                   (COMPASS-0002000106-112)

                                     A24 - BH Admit #3-WAR_Pre-Admission Screening 8.26.2019
739Y   3/9/2022    3/9/2022
                                                   (COMPASS-0001968882-86)




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                              A25 - BH Admit #3-WAR Group Note - Community processing group 8.26.2019
 739Z   3/9/2022   3/9/2022
                                                    (COMPASS-0001968830)
        3/9/2022   3/9/2022
                                              A26 BH- WAR Admission 3 - MARs_PRNs
739AA
                                                   (COMPASS-0002095105-09)
        3/9/2022   3/9/2022                A27 - BH Admit #3-WAR_Physician Readmit Note
739BB                                                  ( 30 Days) 8.27.2019
                                                     (COMPASS-0001968881)
        3/9/2022   3/9/2022
                              A28 - BH Admit #3-WAR_Group Note - Community processing group 8.29.2019
739CC
                                                    (COMPASS-0001968832)
        3/9/2022   3/9/2022         A29 - BH Admit #3-WAR_Group Note - Just for today 8.29.2019
739DD                                                (COMPASS-0001968836)

        3/9/2022   3/9/2022
                                            A30 BH- Compass Admission 6 - MARs_PRNs
739EE
                                                   (COMPASS-0002095110-23)

                                        A31- BH Admit #6 Pain Screen & Assessment 9.01.2019
739FF   3/9/2022   3/9/2022
                                                   (COMPASS-0002000535-36)

                                        A32 - BH Admit #6 Pain Screen & Assessment 9.01.2019
739GG   3/9/2022   3/9/2022
                                                   (COMPASS-0002000533-34)

                                               A33 - BH Admit #6 Chiro Order 9.01.2019
739HH   3/9/2022   3/9/2022
                                                      (COMPASS-0002000839)

                                                 A34 Admissions for Initial Report Pt A
73911   3/9/2022   3/9/2022
                                                       (COMPASS-0002095124)

                                                             A35MAR
739JJ   3/9/2022   3/9/2022
                                                       (COMPASS-0002095125-26)

                                               Patient A Compass #5 - DPOA 2019.08.06
739KK   3/9/2022   3/9/2022
                                                     (COMPASS-0002000100-01)

                                        Patient A Compass #5 - Financial Agreement 2019.08.06
739LL   3/9/2022   3/9/2022
                                                    (COMPASS-0002000098-99)

                                    Patient A Compass #5 - Patient Brokering Questionnaire 2019.8.06
739MM   3/9/2022   3/9/2022
                                                       (COMPASS-0001999980)

                                             Patient A Compass 5 - Promissory 2019.08.06
739NN   3/9/2022   3/9/2022
                                                      (COMPASS-0002000371-72)
        3/9/2022   3/9/2022
                                              B.H. Compass #5 Standard Admission Orders
73900
                                                     (COMPASS-0001999738-39)




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        3/9/2022
                                                 B.H. Compass #3 Intake Screening
739QQ
                                                   (COMPASS-0001998756-68)
        3/9/2022   3/9/2022
                                            B.H Compass #3 Standard Admission Orders
739RR
                                                  (COMPASS-0001998577-78)
        3/9/2022   3/9/2022
                                                 B.H Compass #3 Med Prescription
739SS
                                                   (COMPASS-0001998703-04)
        3/9/2022   3/9/2022
                                                    B.H. Compass #3 Readmit Note
739TT
                                                      (COMPASS-0001998734)
        3/9/2022   3/9/2022
                                  AN 1 WAR Admission 4 - Biopsychosocial Group Note 10.21.2019
741A
                                                (COMPASS-0002035854-68)
        3/9/2022   3/9/2022
                                  AN 2 WAR Admission 4 - Biopsychosocial Group Note 10.21.2019
741B
                                                  (COMPASS-0002035792)
        3/9/2022   3/9/2022
                                                          AN list report 2
741C
                                                      (COMPASS-0002095127)
        3/9/2022   3/9/2022                         AN 1 WAR Admission 4
7410                                            Concurrent Individual Therapy Note
                                                  (COMPASS-0002035831-34)
        3/9/2022   3/9/2022
                                             AN 1 WAR Admission 4 Lab 10.24.2019
741E
                                                 (COMPASS-0002035876-81)
        3/9/2022   3/9/2022
                                         NS 1 - Compass Admit #5 Group Note 2019.08.03
742A
                                                   (COMPASS-0002048988)
        3/9/2022   3/9/2022
742B
                              NS 2 - Compass Admit #5 Group Note 08.10.2019 (COMPASS-0002048986)

        3/9/2022   3/9/2022
                                 NS 3 - WARAdmit#3 Physician Readmit_Complains ED 2019.08.12
742C
                                                 (COMPASS-000204 7 596)
        3/9/2022   3/9/2022
                                     NS 4 - WAR Admit#3 Physicians Progress Note 2019.08.23
742D
                                                 (COMPASS-0002047591-95)
        3/9/2022   3/9/2022
                                NS 5 - WAR Admit#3 Concurrent Individual Therapy Note 2019.08.28
742E
                                                 (COMPASS-0002047776-79)
        3/9/2022   3/9/2022
                                       NS 6 - WAR Admit #3 Physician Progress Note 8.28.19
742F
                                                 (COMPASS-0002047586-90)
        3/9/2022   3/9/2022
                                NS 7 - WAR Admit #3 Concurrent Individual Therapy Note 09.02.2019
742G
                                                 (COMPASS-0002047780-83)




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                                          NS 8 - WAR Admit #3 Physician Progress Note 9.06.2019
742H
                                                     (COMPASS-0002047581-85)

       3/9/2022    3/9/2022
                                  NS 9 - WAR Admit#3 - UA Point of Care Results (B-directional) 9.23.2019
7421
                                                     (COMPASS-0002047531-32)
       3/9/2022    3/9/2022
                                  NS 10- WAR Admit #3 - Lab Information 9.26.2019 Lab 14 (COMPASS-
742J
                                                          000204 7853-57)

                                                            NS list Report 2
742K   3/9/2022    3/9/2022
                                                         (COMPASS-0002095135)

                                                      N.S. Standard Admission Orders
742L   3/9/2022    3/9/2022
                                                       (COMPASS-0002048659-60)
       3/9/2022   ) 3/9/2022
                                                     RC 6 - WAR Admit #5 - Lab Jan 7
743F
                                                       (COMPASS-0002043658-62)
       3/9/2022    3/9/2022                         TF 2 admit detoxmeds Oct 5, 2018
                                                        (COMPASS-0002095137)
744B


       3/9/2022    3/9/2022
                                 TF 3 Compass Admission #3-CPS 10-6 - Concurrent Individual Therapy Note
744C
                                                     (COMPASS-0002054002-06)
       3/9/2022    3/9/2022
                                   TF 5 Compass Admission #3-CPS 10-13 - Lab Information (COMPASS-
744E
                                                           0002054086-89)
       3/9/2022    3/9/2022
                               TF 6 Compass Admission #3-CPS 10-25 - Client discharge summary (COMPASS-
744F
                                                           0002054028-32)            .
       3/9/2022    3/9/2022
                                                             TF list Report 2
744G
                                                         (COMPASS-0002095138)
       3/9/2022    3/9/2022
                                        TR 1 Compass 1- UA POC Results (B-directional) - 4.11.2019
745A
                                                   ,    (COMPASS-0002036517)
       3/9/2022    3/9/2022
                                               TR 2 Compass 1 - Lab Information - 4.11.2019
745B
                                                      (COMPASS-0002037199-03)
                                          ~



       3/9/2022    3/9/2022
                                          TR 3 Compass 1 - Client Discharge summary - 4.23.2019
745C
                                                     (COMPASS-0002037139-46)
       3/9/2022    3/9/2022
                                                TR 4 Compass Admission 2 - MARs_PRNs
745D
                                                      (COMPASS-0002095139-43)
       3/9/2022    3/9/2022
                                      TR 5 Compass 2 - Concurrent Individual Therapy Note - 83.2019
745E
                                                      (COMPASS-0002038006-10)



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        3/9/2022    3/9/2022
                                                              TR 6 KJC - MARs
745F
                                                           (COMPASS-0002095144)
        3/9/2022    3/9/2022
                                       TR Compass 2 -Admission ASAM (DETOX Level III)- 7.26.2019
745H
                                                       (COMPASS-0002037 467-68)
        3/9/2022    3/9/2022
                                             TR Co~pass 2 - Intake Screening Compass - 7.26.2019
745M
                                                       (COMPASS-0002037787-97)


745N    3/14/2022   3/14/2022   TR Compass 2 - IPE and HP Assessment -7.28.2019 (COMPASS-0002037763-84)

        3/9/2022    3/9/2022
                                                  TR Compass 2 - Physician admit 2019.07.26
745Q
                                                       (COMPASS-0002038123-24)
        3/9/2022    3/9/2022
                                               TR Compass 2 - UA POC - 7.26.2019 -Admit Lab
745R
                                                       (COMPASS-0002037473-74)
        3/9/2022    3/9/2022
                                            TR Compass 2_ Standard Admission Orders 2019.07.26
745S
                                                      (COMPASS-0002037482-83)
        3/9/2022    3/9/2022
                                                             TR list from Report 2
745T
                                                           (COMPASS-0002095152)
        3/9/2022    3/9/2022
                                TRPN 2 - Compass 1 - 3.30.2019_Concurrent Individual Therapy Note (12 43·•PM)
745V
                                                        (COMPASS-0002037086-90)
        3/9/2022    3/9/2022
                                     TRPN 3 - Compass 1 - 4.16.2019_Concurrent Individual Therapy Note
745W
                                                      (COMPASS-0002037076-80)
        3/9/2022    3/9/2022
                                                          TR Psychiatric Progress Note
745Y
                                                          (COMPASS-0002036660-68)
        3/9/2022    3/9/2022
745Z                                             TR Readmit Note (COMPASS-0002036812)

        3/9/2022    3/9/2022
                                                  T.R Individual Treatment Plan and Review
745AA
                                                    (COMPASS-0002037800-2037802)

        3/9/2022    3/9/2022
                                                 LL Compass Admit 7 - Lab Info - 6.18.2018
747A
                                                      (COMPASS-0002017219-21)
        3/9/2022    3/9/2022       LL Compass Admit 13 - Concurrent Individual Therapy Note Mental Status
747B                                                           12.20.2018
                                                       (COMPASS0002020188-91)
        3/9/2022    3/9/2022
                                                  LL Compass Admit 15 - Lab Info 2.9.2019
747C
                                                       (COMPASS-0002020943-46)




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747D                         LL Compass Admit 19 - Biopsychosocial - 6.26.2019 (COMPASS-0002021910~37)

       3/9/2022   3/9/2022
747E                         LL Compass Admit 19 - Client Discharge - 7.11.2019 (COMPASS-0002021940-47)

       3/9/2022   3/9/2022
                               LL Compass Admit 19 - UA Point of Care Results - 6.26.2019 (B-directional)
747F                                                (COMPASS-0002022448-49)
       3/9/2022   3/9/2022
                              LL Compass Admit 19 - UA POC Results - 7.10.2019 (COMPASS-0002022450-
747G                          -                                51)

       3/9/2022   3/9/2022
                                                            LL List Report
747H
                                                        (COMPASS-0002095129)
       3/9/2022   3/9/2022
                                                    LL Medications Compass 7 - log
7471                                                 (COMPASS-0002095131-33)
       3/9/2022   3/9/2022
                                                        L.L Admission ASAM
747J
                                                     (COMPASS-0002022506 - 07)
       3/9/2022   3/9/2022
                                                        L.L Intake Screening
747K
                                                    (COMPASS-0002016995-7005)
       3/9/2022   3/9/2022
747L                                                       LL Admissions List

       3/9/2022   3/9/2022
                                                L.L Composite standard admission order
747M
                                                   (COMPASS-0002016742-24014)
       3/9/2022   3/9/2022
                                               ND Admit 2 - Lab Information O1.12.2018
748A
                                                     (COMPASS-2034543-46)

                                                       Photo of Comfort Drink Sign
802A   3/2/2022   3/2/2022
                                                        (COMPASS-0001948593)

                                                         Photo of Comfort Drinks
802B   3/2/2022   3/2/2022
                                                       (COMPASS-0001948594-96)

                                                    Photos of Compass Detox
845    3/2/2022   3/2/2022
                                             (COMPASS-0002059618; 2059619; 2059620)

                                                         Photos of WAR
846    3/2/2022   3/2/2022
                                                  (COMPASS-0002059622; 2059621)

                                                        Photos of Oasis
847    3/2/2022   3/2/2022
                                                (COMPASS-0002059626; ~059623-24)




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                                              Photo of Outpatient Housing
 848   3/2/2022    3/2/2022
                                               (COMPASS-0002059625)

                                                 Photos of Defendants
 849   3/2/2022    3/2/2022
                                              (COMPASS~0002061857-66)

                                                Photos of Yacht
 850   3/11/2022   3/11/2022
                                  (COMPASS-0002061673; COMPASS-0002095173-78)

                                                    Video of Yacht
851A   3/11/2022   3/11/2022
                                                     (IMG_0646)

                                                   Photo of Rolex
 852   3/2/2022    3/2/2022
                                               (COMPASS-0002061981)
       3/9/2022    3/9/2022
901A                                             CPS_HIPAA_LOGS

       3/9/2022    3/9/2022
901B                                             WN_HIPAA_ LOGS

       3/9/2022    3/9/2022
902A                                                 CPS_USERS

       3/9/2022    3/9/2022
902B                                                 WN USERS

       3/9/2022    3/9/2022
                                                 ZenCharts Payments
903
                                              (unified_payments(! ).xlsx)
       3/9/2022    3/9/2022
                                       ZenCharts Patient Files for A.N.- #1 CPS
904A
                                         (COMPASS-0001959083-1959544)
       3/9/2022    3/9/2022
                                       ZenCharts Patient Files for A.N. - #2 CPS
904B
                                         (COMPASS-0001959545-1960417)
       3/9/2022    3/9/2022
                                       ZenCharts Patient Files for A.N. - #3 CPS
904C
                                         (COMPASS-0001960148-1960688)

       3/9/2022    3/9/2022
                                       ZenCharts Patient Files for A.N. - #4 CPS
904D
                                          (COMPASS-01960689-1961361)
       3/9/2022    3/9/2022
                                       ZenCharts Patient Files for A.N. - #5 CPS
904E
                                   (COMPASS-0001961362- COMPASS-0001961959)
       3/9/2022    3/9/2022
                                       ZenCharts Patient Files for A.N. - #6 CPS
904F
                                   (COMPASS-0001961960- COMPASS-0001962569)




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                                       ZenCharts Patient Files for A.N. - #7 CPS
904G
                                   (COMPASS-0001962570- COMPASS-0001963001)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for A.N. - #8 CPS
904H
                                   (COMPASS-0001963002- COMPASS-0001963750)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files forA.N. - #9 CPS
9041
                                   (COMPASS-0001963 751- COMPASS-0001964496)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for A.N. - #10 CPS
904J
                                   (COMPASS-0001964497- COMPASS-0001964917)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for A.N. - #1 WAR
904K
                                   (COMPASS-0002035033- COMPASS-0002035293)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for A.N. - #2 WAR
904L
                                   (COMPASS-0002035294- COMPASS-0002035443)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for A.N. - #3 WAR
904M
                                   (COMPASS-0002035444- COMPASS-0002035667)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for A.N. - #4 WAR
904N
                                   (COMPASS-0002035668- COMPASS-0002035909)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for A.N. - #5 WAR
9040
                                  (COMPASS-0002035910- COMPASS-0002036013)

       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for A.N. - #6 WAR
904P
                                  (COMPASS-0002036014- COMPASS-0002036379)

       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for A.N. - #7 WAR
904Q
                                  (COMPASS-0002036380- COMPASS-0002036505)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for E.F. - #1 CPS
905A
                                   (COMPASS-0001991828-COMPASS-000 1992292)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for E.F. - #2 CPS
905B
                                   (COMPASS-0001992293-COMPASS-0O0 1993098)

       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for E.F. - #3 CPS
905C
                                   (COMPASS-0001993099-COMPASS-0001994040)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for E.F. - #4 CPS
905D
                                   (COMPASS-0001994041-COMPASS-000 1994928)

       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for E.F. - #5 CPS
905E
                                   (COMPASS-0001994929-COMPASS-000 1995649)




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                                       ZenCharts Patient Files for E.F. - #6 CPS
905F
                                   (COMPASS-0001995650-COMPASS-0001996794)
       3/9/2022    3/9/2022
                                       ZenCharts Patient Files for E.F. - #7 CPS
905G
                                   (COMPASS-0001996795-COMPASS-0001997091)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for N.D. -#1 CPS
906A
                                   (COMPASS-0002033670-COMPASS-0002034186)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for N.D. - #2 CPS
906B
                                   (COMPASS-0002034187-COMPASS-0002035017)
       3/9/2022.   3/9/2022
                                      ZenCharts Patient Files for R.C. - #1 CPS
907A
                                   (COMPASS-0002039955-COMPASS-0002040764)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #2 CPS
907B
                                   (COMPASS-0002040896-COMPASS-0002041545)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #3 CPS
907C
                                   (COMPASS-0002041704-COMPASS-0002042281)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #4 CPS
907D
                                   (COMPASS-0002042512-COMPASS-0002042926)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #5 CPS
907E
                                   (COMPASS-0002043184-COMPASS-0002043657)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #6 CPS
907F
                                   (COMPASS-0002044128-COMPASS-0002044596)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #7 CPS
907G
                                   (COMPASS-0002044597-COMPASS-0002044845)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #8 CPS
907H
                                   (COMPASS-0002044846-COMPASS-00020454 76)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #1 WAR
9071
                                   (COMPASS-0002040765-COMPASS-0002040895)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #2 WAR
907J
                                   (COMPASS-0002041546-COMPASS-0002041703)
                                                \


       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #3 WAR
907K
                                   (COMPASS-0002042282-COMPASS-0002042511)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for R.C. - #4 WAR
907L
                                   (COMPASS-0002042927-COMPASS-0002043183)




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       3/9/2022
                                      ZenCharts Patient Files for R.C. - #5 WAR
907M
                                   (COMPASS-0002043658-COMPASS-0002044127)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for W.J. - #1 CPS
908A
                                   (COMPASS-0002054680-COMPASS-0002055116)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for W.J. - #2 CPS
908B
                                   (COMPASS-0002055279-COMPASS-000205599 l)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for W.J. - #3 CPS
908C
                                   (COMPASS-0002056130-COMPASS-0002056487)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for W.J. - #4 CPS
908D
                                   (COMPASS-0002056743-COMPASS-0002057151)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for W.J. - #5 CPS
908E
                                   (COMPASS-000205727 4-COMPASS-0002057606)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for W.J. - #6 CPS
908F
                                   (COMPASS-0002057607-COMPASS-0002058271)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for W.J. - #7 CPS
908G
                                   (COMPASS-0002058272-COMPASS-0002059009)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for W.J. - #8 CPS
908H
                                   (COMPASS-000205901 0-COMPASS-0002059617)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for W.J. - #1 WAR
9081
                                  (COMPASS-0002055117-COMPASS-0002055278)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for W.J. - #2 WAR
908J
                                  (COMPASS-0002055992-COMPASS-0002056129)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for W.J. - #3 WAR
908K
                                  (COMPASS-0002056488-COMPASS-00020567 42)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for W.J. - #4 WAR
908L
                                  (COMPASS-0002057152-COMPASS-0002057273)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for T.R. - #1 CPS
909A
                                  (COMPASS-0002036506-COMPASS-000203 7286)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for T.R. - #2 CPS
909B
                                  (COMPASS-0002037467-COMPASS-0002038174)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for T.R. - #3 CPS
909C
                                  (COMPASS-0002038296-COMPASS-000203 8785)




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                                      ZenCharts Patient Files for T.R. - #4 CPS
909D
                                   (COMPASS-000203 8786-COMPASS-0002039282)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for T.R. - #5 CPS
909E
                                   (COMPASS-0002039283-COMPASS-0002039704)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for T.R. - #6 CPS
909F
                                   (COMPASS-0002039705-COMPASS-0002039954)
       3/9/2022   3/9/2022
                                      'ZenCharts Patient Files for T.R. - #1 WAR
909G
                                   (COMPASS-0002037287-COMPASS-000203 7466)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for T.R. - #2 WAR
909H
                                   (COMPASS-0002038175-COMPASS-0002038295)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for T.F. - #1 CPS
910A
                                   (COMPASS-0002052487-COMPASS-0002053089)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for T.F. - #2 CPS
910B
                                   (COMPASS-0002053090-COMPASS-0002053582)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for T.F. - #3 CPS
910C
                                   (COMPASS-0002053 583-COMPASS-0002054134)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for T.F. - #4 CPS
910D
                                   (COMPASS-0002054 l 35-COMPASS-0002054679)
       3/9/2022   3/9/2022
                                  ZenCharts Patient Files for N.S. - 2017 Admission CPS
911A
                                   (COMPASS-00020454 77-COMPASS-0002045643)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #1 CPS
911B
                                   (COMPASS-0002045644-COMPASS-0002046121)
       3/9/2022   3/9/2022
                                         ZenCharts Patient Files for N.S. - #2 CPS
911C
                                        . (COMPASS-0002046408-0002046906)
       3/8/2022   3/8/2022
                                      ZenCharts Patient Files for N.S. - #3 CPS
911D
                                   (COMPASS-0002047000-COMPASS-000204 7522)

       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #4 CPS
911E
                                   (COMPASS-0002047919-COMPASS-0002048446)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #5 CPS
911F
                                   (COMPASS-0002048642-COMPASS-0002049294)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #6 CPS
911G
                                   (COMPASS-0002049463-COMPASS-0002050368)




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                                      ZenCharts Patient Files for N.S. - #7 CPS
911H
                                   (COMPASS-0002050759-COMPASS-0002051236)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #8 CPS
9111
                                   (COMPASS-0002051237-COMPASS-000205 l 84 l)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #9 CPS
91 lJ
                                   (COMPASS-0002051842-COMPASS-0002052486)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - # 1 WAR
911K
                                   (COMPASS-0002046122-COMPASS-0002046407)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #2 WAR
911L
                                   (COMPASS-0002046907-COMPASS-0002046999)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #3 WAR
911M
                                   (COMPASS-0002047523-COMPASS-0002047918)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #4 WAR
911N
                                   (COMPASS-0002048447-CQMPASS-0002048641)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #5 WAR
9110
                                   (COMPASS-0002049295-COMPASS-0002049462)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for N.S. - #6 WAR
91 lP
                                   (COMPASS-0002050369-COMPASS-00020507 58)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #1 CPS
912A
                                   (COMPASS-0001997092-COMPASS-000 1997973)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #2 CPS
912B
                                   (COMPASS-0001997974-COMPASS-000 1998560)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #3 CPS
912C
                                   (COMPASS-0001998561-COMPASS-000 1999028)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #4 CPS
912D
                                   (COMPASS-0001999029-COMPASS-000 1999716)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #5 CPS
912E
                                   (COMPASS-0001999717-COMPASS-00020003 72)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #6 CPS
912F
                                   (COMPASS-0002000373-COMPASS-0002000917)
        3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #7 CPS
912G
                                   (COMPASS-0002000918-COMPASS-0002001439)




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                                      ZenCharts Patient Files for B.H. - #8 CPS
912H
                                   (COMPASS-0002001440-COMPASS-0002002305)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #9 CPS
9121
                                   (COMPASS-0002002306-COMPASS-0002002846)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #10 CPS
912J
                                   (COMPASS-0002002847-COMPASS-0002003031)
       3/9/2022   3/9/2022
                                      ZenCh~s Patient Files for B.H. - #11 CPS
912K
                                   (COMPASS-0002003032-COMPASS-0002003 884)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - # 1 WAR
912L
                                   (COMPASS-0001968092- COMPASS-0001968278)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #2 WAR
912M
                                   (COMPASS-0001968279- COMPASS-0001968761)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files forB.H. - #3 WAR
912N
                                   (COMPASS-0001968762- COMPASS-0001968899)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #4 WAR
9120
                                   (COMPASS-0001968900- COMPASS-0001969117)
       3/9/2022   3/9/2022
                                      ZenCharts Patient File's for B.H. - #5 WAR
912P
                                   (COMPASS-0001969118- COMPASS-0001969449)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.H. - #6 WAR
912Q
                                   (COMPASS-0001969450- COMPASS~000 1969805)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B,H. - #7 WAR
912R
                                   (COMPASS-0001969806- COMPASS-0001970048)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for V.M. - CPS #1
913A
                                   (COMPASS-0002027508-COMPASS-0002028107)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for V.M. - CPS #2
913B
                                   (COMPASS-0002028291-COMPASS-0002029044)

       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for V.M. - CPS #3
913C
                                   (COMPASS-0002029363-COMPASS-0002030041)
       3/9/2022   3/9/2022                                                --
                                      ZenCharts Patient Files for V.M. - CPS #4
913D
                                   (COMPASS-0002030308-COMPASS-0002030968)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for V.M. - CPS #5
913E
                                   (COMPASS-0002030969-COMPASS-0002031610)




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                                      ZenCharts Patient Files for V.M. - WAR #1
913F
                                   (COMPASS-0002028108-COMPASS-0002028290)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for V.M. - WAR #2
913G
                                   (COMPASS-0002029045-COMPASS-0002029362)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for V.M. - WAR #3
913H
                                   ( COMP ASS-0002030042-COMPASS-0002030307)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.B. - # 1 CPS
914A
                                   (COMPASS-0001964918- COMPASS-0001965329)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for M.B. - #2 CPS
914B
                                   (COMPASS-0001965424- COMPASS-0001966193)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.B. - #3 CPS
914C
                                   (COMPASS-0001966194- COMPASS-0001966986)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.B. - #4 CPS
914D
                                   (COMPASS-0001966987- COMPASS-0001967543)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.B. - #5 CPS
914E
                                   (COMPASS-0001967544- COMPASS-0001968091)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.B. - #1 WAR
914F
                                   (COMPASS-0001965330- COMPASS-0001965423)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for B.O. - #1 CPS
915A
                                   (COMPASS-0001970049- COMPASS-0001970683)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for B.O. - #2 CPS
915B
                                   (COMPASS-0001971023- COMPASS-0001971549)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for B.O. - #3 CPS
915C
                                   (COMPASS-0001971992- COMPASS-0001972571)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for B.O. - #4 CPS
915D
                                   (COMPASS-0001972572- COMPASS-0001973135)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.O. - #1 WAR
915E
                                   (COMPASS-0001970684- COMPASS-0001971022)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for B.O. - #2 WAR
915F
                                   (COMPASS-0001971550- COMPASS-0001971991)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.M. - CPS #1
916A
                                   (COMPASS-0002024026-COMPASS-0002024609)




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       3/9/2022
                                      ZenCharts Patient Files for M.M. - CPS #2
916B
                                   (COMPASS-0002025092-COMPASS-0002025407)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.M. - CPS #3
916C
                                   (COMPASS-0002025523-COMPASS-0002026106)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.M. - CPS #4
916D
                                   (COMPASS-0002026546-COMPASS-0002026882)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.M. - CPS #5
916E
                                   (COMPASS-0002026883-COMPASS-0002027507)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.M. - WAR #1
916F
                                   (COMPASS-0002024610-COMPASS-0002025091)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.M. - WAR #2
916G
                                   (COMPASS-0002025408-COMPASS-0002025522)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for M.M. - WAR #3
916H
                                   (COMPASS-0002026107-COMP ASS-0002026545)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #1
917A
                                   (COMPASS-0001983314- COMPASS-0001984204)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #2
917B
                                   (COMPASS-0001984306-COMPASS-0001985214)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #3
917C
                                   (COMPASS-0001985387-COMPASS-0001985682)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #4
917D
                                   (COMPASS-0001985832-COMPASS-0001986452)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #5
917E
                                   (COMPASS-0001986649-COMPASS-000 1987180)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #6
917F
                                   (COMPASS-0001987458-COMPASS-0001987946)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #7
917G
                                   (COMPASS-0001988032-COMPASS-0001988680)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #8
917H
                                   (COMPASS-0001988808-COMPASS-0001989566)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #9
9171
                                   (COMPASS-0001989567-COMPASS-000 1990026)




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                                      ZenCharts Patient Files for D.W. - CPS #10
917J
                                   (COMPASS-0001990027-COMPASS-0001990704)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #11
917K
                                   (COMPASS-0001990705-COMPASS-0001991036)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - CPS #12
917L
                                   (COMPASS-0001991037-COMPASS-0001991435)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. -CPS #13
917M
                                   (COMPASS-0001991436-COMPASS-0001991827)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - WAR #1
917N
                                   (COMPASS-0001984205- COMPASS-0001984305)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - WAR #2
9170
                                   (COMPASS-0001985215-COMPASS-00019853 86)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D. W. - WAR #3
917P
                                   (COMPASS-0001985683-COMPASS-0001985831)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D. W. - WAR #4
917Q
                                   (COMPASS-0001986453-COMPASS-0001986648) ,
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D.W. - WAR #5
917R
                                   (COMPASS-0001987181-COMPASS-0001987457)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for, D. W. - WAR #6
917S
                                   (COMPASS-0001987947-COMPASS-0001988031)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for D. W. - WAR #7
917T
                                   (COMPASS-0001988681-COMPASS-0001988807)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for L.L. - #1 CPS
918A
                                   (COMPASS-0002014365-COMPASS-0002014774)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for L.L. - #2 CPS
918B
                                   (COMPASS-0002014967-COMPASS-0002015574)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for L.L. - #3 CPS
918C
                                   (COMPASS-0002015575-COMPASS-0002015962)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for L.L. - #4 CPS
918D
                                   (COMPASS-0002015963-COMPASS-0002016373)
       3/9/2022   3/9/2022
                                       ZenCharts Patient Files for L.L. - #5 CPS
918E
                                   (COMPASS-0002016374-COMPASS-0002016754)




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                                         ZenCharts Patient Files for L.L. - #6 CPS
918F
                                     (COMPASS-0002016755-COMPASS-0002017161)
        3/9/2022    3/9/2022
                                         ZenCharts Patient Files for L.L. - #7 CPS
918G
                                     (COMPASS-0002017162-COMPASS-0002017703)
        3/9/2022    3/9/2022
                                         ZenCharts Patient Files for L.L. - #8 CPS
918H
                                     (COMPASS-0002017704-COMPASS-0002018301)
        3/9/2022    3/9/2022
                                         ZenCharts Patient Files for L.L. - #9 CPS
9181
                                     (COMPASS-0002018302-COMPASS-0002018627)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - # 10 CPS
918J
                                     (COMPASS-0002018628-COMPASS-0002019108)
       . 3/9/2022   3/9/2022
                                        ZenCharts Patient Files for L.L. - #11 CPS
918K
                                     (COMPASS-0002019109-COMPASS-0002019712)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #12 CPS
918L
                                     (COMPASS-0002019713-COMPASS-0002020087)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #13 CPS
918M
                                     (COMPASS-0002020088-COMPASS-0002020404)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #14 CPS
918N
                                     (COMPASS-0002020405-COMPASS-0002020900)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #15 CPS
9180
                                     (COMPASS-000202090 I -COMPASS-0002021210)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #16 CPS
918P
                                 -   (COMPASS-0002021211-COMPASS-0002021481)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #17 CPS
918Q
                                     (COMPASS-0002021482-COMPASS-0002021802)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #18 CPS
918R
                                     (COMPASS-0002021803-COMPASS-0002021829)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #19 CPS
918S
                                     (COMPASS-0002021830-COMPASS-0002022453)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #20 CPS
918T
                                     (COMPASS-0002022454-COMPASS-000202323 7)
        3/9/2022    3/9/2022
                                        ZenCharts Patient Files for L.L. - #21 CPS
918U
                                     (COMPASS-0002023238-COMPASS-0002023 706)




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                                                                               .)
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       3/9/2022
                                      ZenCharts Patient Files for L.L. -· #22 CPS •
918V
                                   (COMPASS-0002023 707-COMPASS-0002024025)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for L.L. - # 1 WAR
918W
                                   (COMPASS-0002014775-COMPASS-0002014966)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #1
919A
                                  (COMPASS-0001973136- COMPASS-0001973565)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #2
919B
                                  (COMPASS-0001973755- COMPASS-0001974222)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #3
919C
                                  (COMPASS-0001974223- COMPASS-0001974499)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #4
919D
                                  (COMPASS-0001974500- COMPASS-0001974883)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for C.C. - CPS #5
919E
                                  (COMPASS-0001974884- COMPASS-0001975240)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #6
919F
                                  (COMPASS-0001975241- COMPASS-0001975577)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #7
919G
                                  (COMPASS-0001975578- COMPASS-0001976017)
       3/8/2022   3/8/2022
                                      ZenCharts Patient Files for C.C. - CPS #8
919H
                                  (COMPASS-0001976018- COMPASS-0001976532)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #9
9191
                                  (COMPASS-0001976533- COMPASS-0001976844)
       3/8/2022   3/8/2022
                                     ZenCharts Patient Files for C.C. - CPS #10
919J
                                  (COMPASS-0001976845- COMPASS-0001977299)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for C.C. - CPS #11
919K
                                  (COMPASS-0001977300- COMPASS-0001977835)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for C.C. - CPS ~12
919L
                                  (COMPASS-0001977836- COMPASS-0001978152)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for C.C. - CPS #13
919M
                                  (COMPASS-0001978153- COMPASS-0001978445)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for C.C. - CPS #14
919N
                                  (COMPASS-0001978446- COMPASS-0001978907)




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       ·31912022
                                      ZenCharts Patient Files for C.C. - CPS #15
9190
                                   (COMPASS-0001978908- COMPASS-0001979~09)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #16
919P
                                   (COMPASS-0001979310- COMPASS-0001979673)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #17
919Q
                                   (COMPASS-0001979674- COMPASS-0001980028)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #18
919R
                                   (COMPASS-0001980029- COMPASS-0001980292)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #19
919S
                                   (COMPASS-0001980293- COMPASS-0001980868)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #20
919T
                                   (COMPASS-0001980869- COMPASS-0001981494)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #21
919U
                                   (COMPASS-0001981495- COMPASS-0001981946)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #22
919V
                                   (COMPASS-0001981947- COMPASS-0001982493)
       3/9/2022    3/9/2022
                                       ZenCharts Patient Files for C.C. - CPS #23
919W
                                   ·(COMPASS-0001982494- COMPASS-0001982977)

       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for C.C. - CPS #24
919X
                                   (COMPASS-0001982978- COMPASS-0001983313)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for C.C. - WAR #1
919Y
                                   (COMPASS-0001973566- COMPASS-0001973754)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #1
920A
                                   (COMPASS-0002003 885-COMPASS-0002004589)

       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #2
920B
                                   (COMPASS-0002004590-COMPASS-0002005207)

       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #3
920C
                                   (COMPASS-0002005208-COMPASS-0002005772)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #4
920D
                                   (COMPASS-0002005773-COMPASS-0002006229)
       3/9/2022    3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #5
920E
                                   (COMPASS-0002006230-COMPASS-0002006560)




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                                      ZenCharts Patient Files for J.M. - CPS #6
920F
                                   (COMPASS-0002006561-C?MPASS-0002007089)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #7
920G
                                   (COMPASS-0002007090-COMPASS-0002007824)
       3/8/2022   3/8/2022
                                      ZenCharts Patient Files for J.M. - CPS #8
920H
                                   (COMPASS-0002007825-COMPASS-000200836 l)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #9
9201
                                   (COMPASS-0002008362-COMPASS-0002008785)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #10
920J
                                   (COMPASS-0002008786-COMPASS-00020094 71)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #11
920K
                                   (COMPASS-0002009472-COMPASS-0002010159)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. -CPS #12
920L
                                   (COMPASS-0002010160-COMPASS-0002010626)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #13
920M
                                   (COMPASS-0002010627-COMPASS-0002011025)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #14
920N
                                   (COMPASS-0002011026-COMPASS-0002011599)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #15
9200
                                   (COMPASS-0002011600-COMPASS-0002011943)
       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #16
920P
                                   (COMPASS-0002011944-COMPASS-0002012414)

       3/9/2022   3/9/2022
                                      ZenCharts Patient Files for J.M. - CPS #17
920Q
                                   (COMPASS-0002012415-COMPASS-0002012834)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for J.M. - CPS #18
920R
                                  (COMPASS-0002012835-COMPASS-0002013254)

       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for J.M. - CPS #19
920S
                                  (COMPASS-0002013255-COMPASS-0002013752)
       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for J.M. - CPS #20
920T
                                  (COMPASS-0002013753-COMPASS-0002014364)

       3/9/2022   3/9/2022
                                     ZenCharts Patient Files for J.M. - WAR#l
920U
                                  (COMPASS-0002031611-COMPASS-0002031983)




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        3/9/2022
                                                  ZenCharts Patient Files for J.M. - WAR #2
920V
                                               (COMPASS-0002031984~COMPASS-0002032438)
        3/9/2022     3/9/2022
                                                  ZenCharts Patient Files for J.M. - WAR #3
920W
                                               (COMPASS-0002032439-COMPASS-0002032596)
        3/9/2022     3/9/2022
                                                  Zen:Charts Patient Files for J.M. - WAR #4
920X
                                               (COMPASS-0002032597-COMPASS-0002032852)
        3/9/2022     3/9/2022
                                                  ZenCharts Patient Files for J.M. ---: WAR #5
920Y
                                               (COMPASS-0002032853-COMPASS-0002033109)
        3/9/2022     3/9/2022
                                                  ZenCharts Patient Files for J.M. - WAR #6
9202
                                               (COMPASS-0002033110-COMPASS-0002033279)
        3/9/2022     3/9/2022
                                                  ZenCharts Patient Files for J.M. - WAR #7
920AA
                                               (COMPASS-0002033280-COMPASS-0002033280)
        3/9/2022     3/9/2022
                                                  ZenCharts Patient Files for J.M. - WAR #8
920BB
                                               (COMPASS-0002033439-COMPASS-0002033669)

                                          ZenCharts Excerpted Group Therapy Notes for April 30, 2019
921A    3/15/2022   3/15/2022
                                              (COMPASS-0002063 852- COMPASS-0002063 858)

                                           ZenCharts Excerpted Group Therapy Notes for June 3, 2019
921B    3/15/2022   3/15/2022       ·~        (COMPASS-0002063859- COMPASS-0002063874)

                                                      J.M. Patient Brokering Questionnaire
923A    3/7/2022     3/7/2022
                                                           (COMPASS-0002077189)

                                                      N.S. Patient Brokering Questionnaire
923D    3/7/2022    · 3/7/2022
                                                           (COMPASS-0002077193)

                                                     D.W. Patient Brokering Questionnaire
923G    3/7/2022     3/7/2022
                                                          (COMPASS-0002077186)

                                                    PDF Patient Files Provided by ZenCharts
 926    3/8/2022     3/8/2022
                                                                 (Hard Drive)


 927    3/16/2022   3/16/2022                      Complete Census Report - Compass Detox


 928    3/16/2022   3/16/2022                           Complete Census Report - WAR


                                 July 18, 2019 Email from Jesse Munach to Utilization Review re: E.D. Discharge
987A    3/15/2022   3/15/2022
                                                           (COMPASS-00013 79868)




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987B    3/15/2022   3/15/2022                          Compass Detox FaceSheet for E.D.


                                  July 17, 2019 Email from Jesse Munach to Utilization Review re: Jacob E DC
987C    3/15/2022   3/15/2022
                                                           (COMPASS-0001382069)


987D    3/15/2022   3/15/2022                           Compass Detox FaceSheet for J.E.

                                 July 15, 2019 Email from Jesse Munach to Utilization Review re: MW, TB, NB,
987E    3/15/2022   3/15/2022                                 ~d WA Discharges
                                                           (COMPASS-00013 82962)

987F    3/15/2022   3/15/2022                         Compass Detox FaceSheet for M.W.


987G    3/15/2022   3/15/2022                          Compass Detox FaceSheet for T.B.


                                    July 1, 2019 Email from Jesse Munach to Utilization Review re: A.N. DC
987H    3/15/2022   3/15/2022
                                                           (COMPASS-0001902342)


9871    3/15/2022   3/15/2022                          Compass Detox FaceSheet for A.N.


 988    3/2/2022    3/2/2022                           Christopher Garnto Plea Agreement

                                  March 17, 2020 email between Daniel Markovich and Joseph Santiero re: C.M.
   '\
        3/16/2022   3/16/2022                                      Audit
1006
                                                          (COMPASS-0000576386)

        3/7/2022    3/7/2022                Photo of J. Markovich, R. Waserstein, C. Garnto, Family
1044


1051A   3/2/2022    3/2/2022                Christopher Garnto ZenCharts Access Report Screenshot


1051B   3/2/2022    3/2/2022                  Christopher Garnto ZenCharts Access Report Export

1133    3/16/2022   3/16/2022       July 15, 2018 Email from Dr. Santeiro to Joseph Santeiro Re: No Subject
                                                           (COMPASS-0001714965)

1133A   3/16/2022   3/16/2022                              Copy of article linked in 1133


1134    3/16/2022   3/16/2022   May 4, 2020 Email from Joseph Santeiro to Dr. Santeiro Re: Audits we will look at
                                                              this tonight please
                                                        (COMPASS-0001774913-14)




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1135    3/16/2022   3/16/2022   May 12, 2020 Email from Joseph Santeiro to Dr. Santeiro Re: Fwd: RE ACCT#: 75
                                                             (E.S.) War Network
                                                         (COMPASS-0001769290-91)
1137    3/15/2022   3/15/2022    June 26, 2019 Email exchange between Dr. Santeiro and Paul Buteau Re: Orders
                                                          (COMPASS-0000932948)

1145    3/7/2022    3/7/2022      December 15, 2017 Email from Joseph Santeiro to Dr. Santeiro Re: lab tests for:
                                                       Florida life recovery rehabilitation
                                                          (COMPASS-0000600159-61)
1147    2/28/2022   2/28/2022    December 4, 2018 Email from Dr. Santeiro to floridaliferecovery@gmail.com Re:
                                                   Fwd: Follow Up Letter from Optum/UBH
                                                           (DOJ-FLR-0000005467-68)
1148    3/9/2022    3/9/2022     November 1, 2018 Email from floridaliferecovery@gmail.com to Dr. Santeiro Re:
                                                               Letter to SAMHSA
                                                           (DOJ-FLR-0000005569-76)
1149    3/9/2022    3/9/2022     January 29, 2021 Email from floridaliferecovery@gmail.com to Dr. Santeiro Re:
                                       Fwd: Consultation about a dual diagnosed patient anxiety and OUD
                                                            (DOJ-FL-0000005434-3 7)
1150    3/14/2022   3/14/2022     October 21, 2017 Email chain with David Lynch, Dr. Santeiro, Dr. Lieberman,
                                Jonathan Markovich, Marie Chery, Malcolm David, Paul Buteau, Medical Staff and
                                         Daniel Markovich Re: Seroquel Usage and Pharmacy Consultant
                                                             COMPASS-00009443 85
1154    3/17/2022   3/17/2022          August 9, 2019 Email from Dr. Santeiro to Paul Buteau Re: For T.R.
                                                            (COMPASS-0000929113)

1157    3/14/2022   3/14/2022    December 12, 2018 Email from David Lynch to Medical Staff, Marie Chery, Paul
                                  Buteau, Daniel Markovich, April Johnson, Kimberly Poindijour, Pam Hamilton,
                                 Nicole Portilla, Yamile Gonzalez, Ruth Salgado, Samantha Moreno, Traci Miller,
                                Malcolm David, Lindy Pilgrim, and Drew Lieberman copying Tara Hemerick, Eric
                                 Aday, Jonathan Markovich, and Joseph Santeiro Re: Comfort Drink Order Set and
                                                               Gabapentin Clarification
                                                               COMPASS-00016345 81
1158    3/14/2022   3/14/2022   August 15, 2019 Email from Magie Stanley to Compass Nursing Staff, Admin, and
                                                 Joseph Santeiro Re: Fwd: Approved comfort drinks
                                                             ( COMPASS-0001805618)
1159    3/2/2022    3/2/2022        August 31, 2018 Email from Dr. Santeiro to justin@labgeeks.org, copying
                                               Christopher Garnto and J. Markovich Re: as requested
                                                           (COMPASS-0001122898-99)
1164    2/28/2022   2/28/2022   Compass Application for Licensure to Provide Substance Abuse Services, submitted
                                                                     1/20/2020
                                                           (COMPASS-0000296411-19)
1165    2/28/2022   2/28/2022                           Compass 2017 DCF Application File
                                                             (COMPASS-0000297894)

1165A   3/9/2022    3/9/2022                         Medical Director Agreement
                                        (COMPASS-0000298009 -12)

1169    2/28/2022   2/28/2022                    Dr. Santeiro Affidavit of Good Moral Character
                                                          (COMPASS-0000298549-51)



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1170                            Combined Checks from Compass, WAR, and Florida Life to Dr. Santeiro (x3884)
        3/16/2022   3/16/2022

1171    3/15/2022   3/15/2022           Statement Showing Future Now Payments to Dr. Santeiro (x4904)


1172                            Combined Checks from Compass, WAR, and Florida Life to Dr. Santeiro (x4904)
        3/16/2022   3/16/2022

1173                                              Check from Compass to Dr. Santeiro (x3390)
        3/16/2022   3/16/2022

1174                                    Statement Showing Future Now Payments to Dr. Santeiro (x3884)
        3/16/2022   3/16/2022

1176                              October 24, 2020 Email from Joseph Santeiro to Dr. Santeiro Re: No Subject;
        3/16/2022   3/16/2022                   attachment: Hours worked for extra ,compensation
                                                          (COMPASS-0000600045-46)
1177                            April 1, 2020 Email from Joseph Santeiro to Gina Bruni and Daniel Markovich Re:
        3/16/2022   3/16/2022                                    please adjust
                                                          (COMPASS-0000885208-09)
1181                              June 19, 2019 Email from Joseph Santeiro to Jonathan Markovich Re: Please
        3/16/2022   3/16/2022                             (COMPASS-0001164057-58)

1183    3/9/2022    3/9/2022       February 11, 2019 Email from Joseph Santeiro to Dr. Santeiro Re: Fwd: MD
                                                                    Contract
                                                          (COMPASS-0001211862-66)
1185                            October 22, 2020 Email fromjoseph@compassdetox.com to j.santeiro@gmail.com
        3/16/2022   3/16/2022           Re: No Subject; attachment: hours worked for extra compensation
                                                          (COMPASS-0001240765-66)
1194    3/1/2022    3/1/2022                    September 25, 2018 Optum Letter to Dr. Santeiro
                                                          (COMPASS-0002103387-88)

1195    3/1/2022    3/1/2022                     October 3, 2018 Optum Letter to Dr. Santeiro
                                                        (COMPASS-0002103389-90)

1196    3/1/2022    3/1/2022                      Practice Management Outreach Call Minutes
                                                          (COMPASS-0002103391-92)

1197A   3/1/2022    3/1/2022    January 7, 2019 Email from Samantha Moreno to Practice Management Re: follow
                                     up documentation; attachment: Letterhead Medical Program Description

1197B   3/1/2022    3/1/2022               Compass Medical Program Description from Optum Files
                                                        (COMPASS-0002103395)

1198    3/1/2022    3/1/2022          Practice Management Outreach Call Second Chance Detox - Minutes
                                                      (COMPASS-0002103397-402)




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1199   3/1/2022    3/1/2022                 Practice Management Outreach Call WAR - Minutes
                                                       (COMPASS-0002103417-23)

1200   3/14/2022   3/14/2022                             Dr. Lieberman Plea Agreement
                                                         (COMPASS-0002103336-50)

1202                                            Report-Object Access Jose SanteiroWAR.csv
       3/16/2022   3/16/2022

1203                                           Report-Object Access Joseph SanteiroW AR.csv
       3/16/2022   3/16/2022

1204                                               Report-Object Access Jose Santeiro.csv
       3/16/2022   3/16/2022

1205                                              Report-Object Access Joseph Santeiro.csv
       3/16/2022   3/16/2022

1206                                                Report-Object Access Lieberman.csv
       3/16/2022   3/16/2022

1208   3/2/2022    3/2/2022      August 31, 2018 Email from Justin Thompson to David Lynch copying Chris
                                        Garnto and Mark Santora Re: Benzo Class added to the order.
                                                         (COMPASS-0000438667)
1212   3/15/2022   3/15/2022                   AT&T Subpoena Return Regarding IP Address
                                                       (COMPASS-0002104 733-35)

1213   3/14/2022   3/14/2022                        Atlantic Broadband Subpoena Return
                                                         (COMPASS-0000394535)

1214   3/22/2022   3/22/2022                                   ASAM Criteria


1215   3/16/2022   3/16/2022     Summary Exhibit Regarding Flow of Funds From Insurance Companies (Dr.
                                                     Santeiro and Joseph Santiero)

1216                             Summary Exhibit Regarding Flow of Funds From Insurance Companies (Dr.
       3/16/2022   3/16/2022                                   Santeiro)

1218                           Summary Exhibit - Pie Chart Regarding Deposits into Jose Santeiro Regions Acct
       3/16/2022   3/16/2022                                  3885 & 4904

1219                           Summary Exhibit Regarding Deposits From Substance Abuse Treatment Centers
       3/16/2022   3/16/2022               Into Jose Santeiro Regions Acct x3884 and x4904

1221                            Summary Exhibit Regarding Deposits From Compass, WAR, Florida Life, and
       3/16/2022   3/16/2022          Future Now Into Jose Santeiro Regions Acct x3883 and x4904




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1226                                          Florida Life Kipu Patient Files and Logs
        3/16/2022    3/16/2022                              (Hard Drive)

1227                                          Future Now Kipu Patient Files and Logs
        3/16/2022    3/16/2022                            (Hard Drive)

1228A    3/1/2022    3/1/2022    Aetna Response to RFI regarding FLORIDA LIFE RECOVERY AND
                                               REHABILITATION - 2019.06.05 (2A)

1228B    3/1/2022    3/1/2022    Aetna Response to RFI regarding FLORIDA LIFE RECOVERY AND
                                               REHABILITATION - 03.09.2020 (3A)

1228C    3/1/2022    3/1/2022    AETNA Response to RFI regarding FLORIDA LIFE RECOVERY AND
                                                 Rehabilitation- 2020.11.13 (IA)

1229A    3/1/2022    3/1/2022    BCBS Response to RFI regarding FLORIDA LIFE RECOVERY AND
                                             REHABILITATION - 2018.12.03 (3A)

1229B    3/1/2022    3/1/2022    BCBS Response to RFI regarding FLORIDA LIFE RECOVERY AND
                                             REHABILITATION - 2019.05.22 (2A)

1229C   · 3/1/2022   3/1/2022    BCBS Response to RFI regarding FLORIDA LIFE RECOVERY AND
                                             REHABILITATION - 2020.03.17 (IA)

1229D    3/1/2022    3/1/2022    BCBS Response to RFI regarding FLORIDA LIFE RECOVERY AND
                                             REHABILITATION - 2020.11.12 (lA)

1229E    3/1/2022    3/1/2022    BCBS Response to RFI regarding FLORIDA LIFE RECOVERY AND
                                             REHABILITATION - 2020.11.30 (lA)

1231B    3/1/2022    3/1/2022    Optum Response to RFI regarding FLORIDA LIFE RECOVERY AND
                                              REHABILITATION - 2020.03.05 (2A)

1233A    3/1/2022    3/1/2022       Optum-Future Now Billing Data (1136238_Claims Data_BH)


1233B    3/1/2022    3/1/2022                    Optum - Future Now Billing Data
                                                   (1136238_Claims Data_MD)

1234     3/1/2022    3/1/2022                   · Aetna - Future Now Billing Data
                                                   (20193898 SPM FL FBil UE)

1235     3/1/2022    3/1/2022                    BCBS - Future Now Billing Data
                                              (01.01.17-05.10.21 Future Now Detox)

1236A                                            Cigna - Future Now Billing Data
        3/16/2022    3/16/2022           (20210510-101609 Cigna East Medical Claim Data)




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E;6;il>it     Date'
Nulri~er
 1236B                                                    Cigna - Future Now Billing Data
            3/16/2022   3/16/2022                  (20210510-101609 Diamond Medical Claim Data)

 1236C                                                    Cigna - Future Now Billing Data
            3/16/2022   3/16/2022                   (20210510-101609 Facets Medical Claim Data)

 1237       3/11/2022   3/11/2022                           E.B. Florida Life Patient File
                                                          (4258 _2017-13 _[eb]-full-casefile)

 1247       3/2/2022    3/2/2022                                Photo of Boat Outing


 1251       3/7/2022    3/7/2022                   December 14, 2017 Email from Christopher Garnto to
                                    floridaliferecovery@gmail.com re: Laboratory Pros - Customer Testing Menu.pdf
                                                                     + Attachment

                                                           (DOJ-FLR-0000000074-75
 1252       3/16/2022   3/16/2022              Summary Analyses of Trends in Florida Life Patient Files


 1253       3/16/2022   3/16/2022              Summary Analyses of Trends in Future Now Patient Files


 1254       3/16/2022   3/16/2022   Summary Analysis of Patient Overlap- Compass, WAR, Florida Life, Future Now


 1255       3/16/2022   3/16/2022                Summary Analysis of Dr. Santeiro's ZenCharts Access


 1256       3/16/2022   3/16/2022    Summary Analysis of IP Addresses Used By Dr. Santeiro's ZenCharts Account


 1257       3/16/2022   3/16/2022    Summary Analysis ofIP Addresses Used By Dr. Santeiro's ZenCharts Account
                                                 Also Found In Future Now and Florida Life Data

 1258       3/16/2022   3/16/2022                       Summary Analysis of Late Signatures


 1260       3/7/2022    3/7/2022      December 15, 2017 Email from Christopher Garnto to Lab Geeks re: Fwd:+
 A-B                                                                 Attachments
                                                            (COMPASS-0000636566-68)
1261A       3/2/2022    3/2/2022    November 19, 2018 Email from Joseph Santeiro to Lab Geeks, Christopher Garnto
                                              re: Documentation for War Network LLC + Attachments
                                                            (COMPASS-0000663416-17)
1261B       3/2/2022    3/2/2022      Attachments: Physician Attestation of Medical Necessity; Test Request Form




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                     3/8/2022         May 2, 2017 Email from Compass Behavioral Techs to Garnto, Jonathan
                                   Markovich, Justin Crooks, Julissa Davila, Kristel Valdelamar, Jose Santeiro, and
                                             Barbara Irizarry regarding Shift Report 3pm-11 pm 5/1/17
                                                             COMPASS -0000944287
1273A   3/11/22      3/11/22                               Elan Bakhshi Plea Agreement


1275                                                 Jose Santeiro, Regions Bank Records x3884
        3/16/2022    3/16/2022

1276                                                Jose Santeiro, Regions Bank Records x4904
        3/16/2022    3/16/2022

1277    3/2/2022     3/2/2022                                  Compass Facility Phofos


1278    3/2/2022     3/2/2022                                   WAR Facility Photos


1279    3/11/2022    3/11/2022                               Elan Bakhshi Kastigar Letter


1281    3/15/2022    3/15/2022    October 21, 2017 Email from zoe9090@aol.com to jsanteiro@compassdetox.com
                                                   Re: Seroquel Usage and Pharmacy Consultant
                                                            (COMPASS-0000599042)
1281A   3/15/2022    3/15/2022                                    Email Properties
                                                                [IP: 65 .34.190.226]

1282    3/15/2022    3/15/2022   December 5, 2017 Email from zoe9090@aol.com to floridaliferecovery@gmail.com
                                                              Re: HIV Certificate
                                                            (DOJ-FLR-0000005485)
1282A   3/15/2022    3/15/2022                                  Email Properties
                                                              [IP: 65.34.188.160]

1283    ·3115/2022   3/15/2022   December 4, 2018 Email from zoe9090@aol.com to floridaliferecovery@gmail.com
                                                  Re: Fwd: Follow Up Letter from Optum/UBH
                                                            (DOJ-FLR-0000005467)
1283A   3/15/2022    3/15/2022                                  Email Properties
                                                              [IP: 76.248.145.123]

1284    ·3/15/2022   3/15/2022            February 22, 2018 Letter from Comcast Regarding IP Subpoena
                                                          (COMPASS-0002111054-66)

1292    3/14/2022    3/14/2022                   J.P. Patient File Excerpt (IPE and HIP Assessment)


1293    3/14/2022    3/14/2022      April 3, 2020 Email from Lisa Metz to Daniel Markovich, Medical Staff, and
                                                  Nursing Re: J.P. Meds and Nursing Assessment
                                                            (COMPASS-0000395073)



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  Exhibit                 Date        I
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                                                                                                          ''                          ':.,•:·,        '.
                                                                                                                                                           :'(: •:   ,,',,   >. ::,' ',
    1300        3/16/2022                 3/16/2022                        January 17, 2018 Email from David Lynch to April Johnson, Malcolm David, Marie
                                                                             Chery, Medical Staff, Paul Buteau, Stacey Grant, Alex Litkowski, April Johnson,
                                                                            Chris Ward, Chris Garnto, Daniel Markovich, David Lynch, Drew Lieberman, Eric
                                                                             Aday, Fem Frederic, Gabrielle Kaczor, James Younis, Jonathan Markovich, Jose
                                                                             Santeiro, Joseph Santeiro, Justin Crooks, Lisa Metz, Lori Van Valkenburg, Mail
                                                                           Processing, Marie Chery, Samantha Moreno, Stephanie Peiffer, Tara Hemerick, and
                                                                                                Yaron Jacobovits Re: ZenCharts: Loglnq
                                                                                                        (COMPASS-0000944552)
    1301       3/2/2022                   3/2/2022                          October 18, 2018 Email chain with Daniel Markovich, driver@compassdetox.com,
                                                                                Allyson Frank, April Johnson, Cassidy Rogers, Christopher Garnto, Daniel
                                                                             Markovich, Eric Aday, Jonathan Markovich, Joseph Desimone, Joseph Santeiro,
                                                                           Joshua Jardins, Lisa Metz, Marie Chery, Medical Staff, Lori Van Valkenburg, Paul
                                                                            Buteau, Samantha Moreno, Stefanie Sedotto, Tara Hemerick and Samuel Vital Re:
                                                                                                                Fwd:K.C.
                                                                                                      (COMPASS-0000795407-08)
    1302       3/14/2022                  3/14/2022                           April 22, 2018 Email from Daniel Markovich to Shey la Munoz Re: Fw: Sleep
                                                                                                                Medications
                                                                                                      (COMPASS-0000790946-4 7)
    1303       3/14/2022                  3/14/2022                        January 6, 2018 Email from David Lynch to April Johnson, Malcolm David, Marie
                                                                               Chery, Medical Staff, Paul Buteau, Stacey Grant, Kimberly Poindijour, Fem
                                                                             Frederic, copying Jonathan Markovich and Drew Lieberman Re: Documentation
                                                                                                        (COMPASS-0000429253)
    1304       3/14/2022                  3/14/2022                         March 1, 2018 Email From David Lynch to April Johnson, Malcolm David, Marie
                                                                              Chery, Medical Staff, Paul Buteau, Stacey Grant, Kimberly Poindijour, Jessica
                                                                            Willis, copying Dr. Lieberman and Jonathan Markovich Re: Controlled Substance
                                                                                                                  PRNS
                                                                                                        (COMPASS-0000429252)
    1308                                                                   Summary Exhibit Regarding Deposits from Compass, WAR, Florida Life & Future
               3/16/2022                  3/16/2022                                      Now Into Jose Santeiro Regions Acct x3883 and x4904

    1309                                                                    Summary Exhibit Regarding Payments to Jose Santeiro from Compass and WAR
               3/16/2022                  3/16/2022

    1310       3/16/2022                  3/16/2022                        Summary Exhibit Regarding Payments from Compass and WAR into Jose Santeiro
                                                                                                  and Joseph Santiero Accounts
'
    1312                                                                    Detail Exhibit Regarding Deposits Into Joseph Santeiro Bank United Acct 7352
               3/16/2022                  3/16/2022                               From Compass, WAR, Florida Life Recovery, and Boutique Billing

    1313                                                                   Summary Exhibit Regarding Payments to Joseph Santeiro from Compass and WAR
               3/16/2022                  3/16/2022

    1314                                                                           Summary of WAR Network Job Titles Per Gusto Payroll Records
               3/16/2022                  3/16/2022

    1315                                                                                 Summary of WAR Job Titles Per Gusto Payroll Records
               3/16/2022                  3/16/2022

    1317       3/14/2022                  3/14/2022                              Text message thread between Richard Waserstein and Dr. Lieberman




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1318A   3/14/2022   3/14/2022                             IPE and HIP Assessment L.S.


1318B   3/14/2022   3/14/2022                      IPE and HIP Assessment L.S. Timestamps


1318C   3/14/2022   3/14/2022                       Physician's Order for Medication L.S.


1319A   3/14/2022   3/14/2022                             IPE and HIP Assessment L.Z.


1319B   3/14/2022   3/14/2022                             IPE and H/P Assessment L.Z.


1320A   3/14/2022   3/14/2022                             IPE and H/P Assessment O.P.


1320B   3/14/2022   3/14/2022                     IPE and H/P Assessment O.P. Timestamps


1321    3/14/2022   3/14/2022     August 16, 2017 Email from Jonathan Markovich to Dr. Lieberman copying
                                             Richard Waserstein Re: Revised Operating Agreement
                                                         (COMPASS-0000599454-96)
1322    3/14/2022   3/14/2022   August 14, 2017 Email from Richard Waserstein to Jonathan Markovich Regarding
                                                      Membership Certificate Agreement
                                                         ( COMPASS-0001117 457-68)
1323A   3/9/2022    3/9/2022                                 WAR IPE Composite


1323B   3/9/2022    3/9/2022                           WAR Progress Note Composite


1323C   3/9/2022    3/9/2022                               WAR ED Meds Composite


1324    3/16/2022   3/16/2022    February 18, 2019 Email from Joseph Santeiro to Joseph Santeiro Re: Jose Zen
                                                                WAR log-in

1325A   3/16/2022   3/16/2022                        WAR Physicians Progress Note C.T.


1325B   3/16/2022   3/16/2022                                 C.T. ZenCharts Log


1325C   3/16/2022   3/16/2022                       WAR Physicians Progress Note M.M.




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1325D   3/16/2022   3/16/2022                                M.M. Timestamps


1327A   3/16/2022   3/16/2022                MM2 Physicians_Progress_Note_2020-04-22_48420


1327B   3/16/2022   3/16/2022                                MM2 Timestamps


1327C   3/16/2022   3/16/2022                MM2 Physicians_progress_Note_2020-04-22 _ 48419


1327D   3/16/2022   3/16/2022                                MM2 Timestamps


1329    3/16/2022   3/16/2022   April 23, 2020 Email From Daniel Markovich to Lori Van Valkenburg Re: C. cir.
                                                                   notes
                                                         (COMPASS-0001379429)
1329A   3/16/2022   3/16/2022                    Attachment: Physicians Progress Note C.M.


1329B   3/16/2022   3/16/2022                    Attachment: Physicians Progress Note C.M.


1331A                                    Joseph Santeiro Financial Records from Bank United x7352
        3/16/2022   3/16/2022

1331B                                    Joseph Santeiro Financial Records from Bank United x8697
        3/16/2022   3/16/2022

1332    3/14/2022   3/14/2022                        KR Compass Admission 1 Excerpt


1333    3/14/2022   3/14/2022                        KR Compass Admission 2 Excerpt


1334    3/14/2022   3/14/2022                        GB Compass Admission 4 Excerpts


1343    3/14/2022   3/14/2022                               BH Facesheet Photo


1344    3/14/2022   3/14/2022                               JM Facesheet Photo


1345    3/14/2022   3/14/2022                               LL Facesheet Photo




                                                    49
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1346    3/14/2022   3/14/2022   OP Initial_psychiatric_Evaluation_2018-03-29_126437 - SECOND IPE


1347    3/14/2022   3/14/2022                           OP Facesheet Photo


1348    3/14/2022   3/14/2022                              LS Facesheet


1349    3/7/2022    3/7/2022                       R.H. Compass Patient File
                                                 (COMPASS-0002113066-3648)

1350    3/7/2022    3/7/2022            R.H. Memorial Hospital Pembroke Medical Records


1351    3/16/2022   3/16/2022                          Santeiro IP Addresses


1352    3/16/2022   3/16/2022                          CD Orders Composite
                                                    (COMPASS-0002113906-29)

1353A   3/14/2022   3/14/2022                       JM Biopsychosocial Compass
                                                    (COMPASS-0002113930-51)

1353B   3/14/2022   3/14/2022                          JM Compass Intake
                                                    (COMPASS-0002113952-69)

1353C   3/14/2022   3/14/2022                         JM IPE Compass Intake
                                                    (COMPASS-0002113970-98)

1353D   3/14/2022   3/14/2022                      JMWAR UA 8-6-19
                                        (COMPASS-0002113999-COMPASS-0002114000)

1353E   3/14/2022   3/14/2022                          JM WAR UA 7-30-19
                                                    (COMPASS-0002114001-02)

1354    3/16/2022   3/16/2022                        BCBS Niznik Labs 6.25.20


1355    3/16/2022   3/16/2022                       Aetna Lab Geeks and Niznik


1356    3/16/2022   3/16/2022                          Aetna (SMA) 9.22.20


1357    3/16/2022   3/16/2022               BCBS RFI Response - Lab Geeks 6.25.20




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   1358                3/16/2022     3/16/2022                                  Cigna East Claim Data 6.15.2022


   1359                3/16/2022     3/16/2022                              Cigna East Claim Data_MDC20 2.15.2022


   1360                3/16/2022     3/16/2022                                      Cigna Claims Data 11.5.2020


   1361                3/16/2022     3/16/2022                                         Optum Labs 2.15.2022


   1371                                                                     Compass Detox Banking Records,
                                                                                    Regions x223 7
                                                           (COMPASS-0000073832- COMPASS-0000074744; COMPASS-0000188647 -
                       3/16/2022     3/16/2022
                                                            COMPASS-0000188695; COMPASS-0000250508 - COMPASS-0000250516;
                                                           COMPASS-0000260834- COMPASS-0000260865; COMPASS-0000286295 -
                                                                                COMPASS-0000286322
   1377                3/16/2022     3/16/2022                               E.S doctor daily progress notes


   1378                3/16/2022     3/16/2022                                         E.S Timestamp notes


   1379                3/16/2022     3/16/2022 ·                               A.L War progress notes 12.12.2019


   1380                3/16/2022     3/16/2022                                         A.L Timestamp notes


   1381                3/11/2022     3/11/2022                                        Copy of LB.Admissions
                                                                                               (CD)

   1382                3/11/2022     3/11/2022                                     BAKHSHI Patient File Excerpt


   1385                3/15/2022     3/15/2022                       February 7, 2022 Comcast Letter Regarding IP Addresses
                                                                             (COMPASS-0000211454-000021145 5)

   1386                3/15/2022     3/15/2022             August 29, 2018 Email from Comcast Business to jonathan@compassdetox.com
                                                                        Re: Installation Confirmed: Register for My Account
                                                                                    (COMPASS-0001156937-38)
   1388                3/14/2022     3/14/2022                                            JM Text Messages
                                                                        (COMPASS-0002114003-COMPASS-0002114076)

   1389                3/14/2022     3/14/2022                                  Compass Detox. Website Excerpt
                                                                                  (COMPASS-0000310073)




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1390    3/14/2022   3/14/2022    · · Marketer Media Article-Compass House Detox Explains Understanding A
                                Controversial Topic Medication-Assisted Treatment (COMPASS-0002114077-82)

1391    3/14/2022   3/14/2022                     WJ Readmit Note Compass Admission 6
                                                  (COMPASS-0002114083-0002114084)

1392    3/14/2022   3/14/2022                 WJ Physician Readmit Note Compass Admission 5
                                                  (COMPASS-0002114085-0002114086)

1393    3/14/2022   3/14/2022                       WJ Facesheet Compass Admission 5
                                                   (COMPASS-0002114087-0002114097)

1394    3/14/2022   3/14/2022                       WJ Compass Admission 6 Facesheet
                                                   (COMPASS-0002114098-0002114107)

1395    3/14/2022   3/14/2022                     TR Readamit Note Compass Admission 3
                                                   (COMPASS-0002114108-0002114108)

1396    3/14/2022   3/14/2022                       TR Facesheet Compass Admission 2
                                                   (COMPASS-0002114109-0002114118)

1398    3/14/2022   3/14/2022                     JM Compass Admission 11 Readmit Note


1399    3/14/2022   3/14/2022                       BH Compass Admission 5 Facesheet
                                                      (COMPASS-0002114130-40)

1400A   3/14/2022   3/14/2022            OP Detox_Shift_Assessment_and_Note_2018-03-28_125725
                                                  (COMPASS-0002114141-0002114145)

1400B   3/14/2022   3/14/2022            OP Detox- Shift- Assessment- and- Note- 2018-03-27- 125682
                                                  (COMPASS-0002114146-0002114150)

1400C   3/14/2022   3/14/2022           OP Detox- Shift- Assessment- and- Note- 2018-03-31 126815
                                                 (COMPASS-0002114124-0002114129)

1401    3/14/2022   3/14/2022                              OP IPE 2 Timestamp


1402    3/14/2022   3/14/2022                    JM WAR UA Confirmation Results 8.6.19


1403    3/14/2022   3/14/2022           BH Medication Administration Report Compass Admission 5


1404    3/14/2022   3/14/2022                  BH Compass Admission 5 Med Orders 8.11.19




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1407                                        Wells Fargo Bank Records x9802
       3/16/2022   3/16/2022                  (Drew Leiberman MD PA)

1408                              Summary Exhibit Regarding Payments to Dr. Lieberman
       3/16/2022   3/16/2022

1409   3/15/2022   3/15/2022         Santiero Signature Regions Bank Signature Page


1410   3/16/2022   3/16/2022       Lab Geeks and Lab Pros Billing for FL Life Patients


1411   3/16/2022   3/16/2022                         West Claim Data


1412   3/16/2022   3/16/2022                    Optum Claims Data (3.5.20)


1413   3/15/2022   3/15/2022               Joseph Santeiro Driver's License
                                        (PAGE 2 OF EXH ADMITTED ONLY)

1414   3/16/2022   3/16/2022                   B.H Standard Admission Order


1415   3/16/2022   3/16/2022                   L.L Standard Admission Order


1418   3/17/2022   3/17/2022                    DV Compass Patient File 1


1419   3/17/2022   3/17/2022                    DV Compass Patient File 2


1420   3/17/2022   3/17/2022                      DV WAR Patient File l


1421   3/17/2022   3/17/2022                      DV WAR Patient File 2


1422   3/17/2022   3/17/2022         Email with David Lynch w/ Jonathan Markovich
                                               (COMPASS-0001149794)

1423   3/17/2022   3/17/2022            Email with David Lynch and Paul Buteau
                                               (COMPASS-0001291567)

1424   3/21/2022   3/21/2022                   N.S. Lab Confirmation Order




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1425   3/21/2022   3/21/2022                         N.S. Lab Results


1427   3/18/2022   3/18/2022             IP Address User Information, Version 2


1428   3/21/2022   3/21/2022                    DV IPE and HP Assessment

1430   3/21/2022   3/21/2022                    DV UA Point of Care Results

1431   3/21/2022   3/21/2022                 Zen Charts Screenshot - Settings

1434   3/21/2022   3/21/2022               Zen Charts Superadmin Screenshot

1435   3/21/2022   3/21/2022              Zen Charts Hide Signature Screenshot

1436   3/21/2022   3/21/2022        IPE/HP Assessment Zen Charts Screerishot 2.17 .18

1440   3/22/2022   3/222/2022    ASAM Ethical Use of Drug Testing Policy Statement 2019

1442   3/22/2022   3/22/2022                     DSM 5 Alcohol Withdraw!

1444   3/22/2022   3/22/2022                     DSM 5 Opioid Withdraw!




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                                    IN THE UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO. 21-CR-60020-Dimitrouleas

      UNITED STATES OF AMERICA,
                      Plaintiff,
      vs.

      M.D. JOSE SANTEIRO,
                       Defendant.
      - - - - - - - - - - - - - - - - -I

                                    NOTICE OF FILING DEFENDANT'S EXHIBITS 1


               Counsel for JOSE SANTEIRO hereby file this notice of compliance with the local rules,

      mandating that trial exhibits be electronically filed. The below defense trial exhibits, unless

      marked with an asterisk, will be uploaded onto the CM/ECF system.




                     Patient A.N. Compass
                     Admissions Com osite
        002a-g       Patient A.N. War Admissions                  3/21               Proffer           USB
                      Com osite
        004a-k       Patient B.H. Compass                         3/21               Proffer           USB
                     Admissions Com osite)
        005a-g       Patient B.H. War Admissions                  3/8                Garnto            USB
                     (Composite)                                  005C
                                                                  0050
                                                                  005F

                                                                  3/21               Proffer
                                                                  005A
                                                                  005B
                                                                  005D

      1 The defense exhibits filed via CM/ECF have been redacted for personal identifying information and/or other confi-
      dential patient information. Certain patient files and/or records have been submitted for filing solely under seal (see
      Docket Entry 384). The defense exhibits filed under seal have been annotated as such with an asterisk.
                                                           Page 1 of 9
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                                                    005E
        006a-d   Patient B.O. Compass               3/21    Proffer    USB
                 Admissions Com osite
        007a-b   Patient B.O. WAR Admissions        3/21    Proffer    USB
                  Com osite
        008a-d   Patient C.W. Compass               3/21    Proffer    USB
                 Admissions Com osite
       009a-d    Patient C. W. WAR Admissions       3/21    Proffer    USB
                  Com osite
       0l0a-nn   Compass Facility Photos            3/17    Buteau     File
                  Com osite
        0lla-g   Patient D.W. WAR Admissions        3/21    Proffer    USB
                  Com osite
         012     Patient E.B. WAR Admission         3/11    Bakhshi    USB

         013     Patient E.O. WAR Admission         3/21    Proffer    USB

       014a-h    Patient J.M. WAR Admissions        3/21    Proffer    USB
                 Com osite
        015a-e   Patient M.K. WAR Admissions        3/21    Proffer    USB
                  Com osite
        016a-e   Patient M.B. Compass               3/21    Proffer    USB
                 Admissions Com osite
        017a-b   Patient N.D. Compass               3/21    Proffer    USB
                  Com osite
        018a-h   Patient N.S. Compass Admissions    3/21    Proffer    USB
                  Com osite
        019a-c   Patient P.S. Compass Admissions    3/21    Proffer    USB
                  Com osite
         020     Patient R.H. Compass               3/7     Halloway   USB
                 Admissions
                                                    3/15    Liberman
                                                    020A
                                                    020B
                                                    020C

                                                    3/17    Buteau
                                                    20D
        021a-e   Patient R.C. WAR Admissions        3/21    Proffer    USB
                  Com osite

                                               Page 2 of9
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                 Patient T.F. Compass Admissions
                  Com osite
        023a-e   Patient V.M. Compass                 3/21    Proffer   USB
                 Admissions (Com osite
       024a-h    Patient W.J. Compass Admissions      3/21    Proffer   USB
                 (Com osite
         026     Compass Pharmacy License             3/21    Proffer   File
                 2020-2021
         027     Compass Pharmacy License             3/21    Proffer   File
                 2021-2023
         030     2019 State of Florida DOH Dr.        3/21    Proffer   File
                 Santeiro Renewed Medical
                 License
         032     Dr. Santeiro DEA Controlled          3/21    Proffer   File
                 Substance Re istration Certificate
         038     ASAM Policy on Drug Testing          3/21    Proffer   File

         048     State of Florida DCF WAR             3/21    Proffer   File
                 Network License 2019 Day-Night
                 Treatment with Community
                 Housing

         049     State of Florida DCF WAR             3/21    Proffer   File
                 Network License 2019 Intensive
                 Outpatient Treatment

         050     State of Florida DCF WAR             3/21    Proffer   File
                 Network License 2019 Outpatient
                 Treatment

         055     Comfort Drinks Protocol - Email      3/21    Proffer   File
                 from M. Stanle 01-03-2020
       060a-c,   Photos of Markoviches and            3/8     Garnto    File
         e-f     Christopher Garnto (Composite)       060A
                                                      060B
                                                      060C
                                                      060E
                                                      060F
        06la-f   Christopher Garnto Emails re         3/8     Garnto    File
                 Marketing (Composite)                061A
                                                      061B
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       062a-c,    Christopher Garnto emails re        3/8     Garnto    File
         f-x      Marketing Contracts (Composite)     062A
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                                                      062G
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                                                      0621
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         063      WhatsApp chat Christopher           3/8     Garnto    File
                  Garnto and Nick Parks
         080      State of Florida DCF 2018           3/21    Proffer   File

         081                                          3/21    Proffer   File

         082                                          3/21    Proffer   File

         088                                          3/8     Garnto    File

         097      Patient P.S. Promisory Note         3/21    Proffer   File

         102      Patient W.J. Incident Report 7-7-   3/21    Proffer   File
                  2019
         107      Dr. Santeiro Compass Payroll        3/16    Mila      File
                  Records 2018
         108      Dr. Santeiro Compass Payroll        3/16    Mila      File
                  Records 2019
         109      Dr. Santeiro Compass Payroll        3/16    Mila      File
                  Records 2020
         112      Jose Santeiro Payroll Details       3/16    Mila      File
                  A ril -December 2017
        118a..b   Substance Abuse and Mental          3/21    Proffer   File
                  Health Services Administration
                  (SAMHSA) email and response
                  to Florida Life Recovery


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                 Grau Note War Mario Kustura
         124a    The ASAM Criteria Third Edition                     File .

         124b    Cautiona Statement                 3/11   Waller    File
        125a-h   Patient R.C. Compass Admissions    3/22   Proffer   USB
                  Com osite
        126a-f   Patient T.R. Compass Admissions    3/22   Proffer   USB
                  Com osite
        127a-f   DCF Inspection Reports             3/1    K. Lee    File
                  Com osite
        128a-j   Patient M. K. Compass              3/22   Proffer   USB
                 Admissions Com osite
        129a-c   Patient M. M. WAR Admissions       3/22   Proffer   USB
                  Com osite
        130a-e   PatientN. S. WARAdmissjons         3/22   Proffer   USB
                  Com osite
        131a-b   Patient T. R. WAR Admissions       3/22   Proffer   USB
                  Com osite
        132a-c   Patient V. M. War Admissions       3/22   Proffer   USB
                  Com osite
        133a-g   Patient E. F. Compass Admissions   3/22   Proffer   USB
                  Com osite
         134     Patient E. 0. Compass Admission    3/22   Proffer   USB

        135a-r   Patient L.L. Compass Admission     3/22   Proffer   USB
                  Com ostie
        136a-d   Patient W.J. War Admissions        3/21   Proffer   USB
                  Com osite
         137     Patient K.G. Admissions            3/21   Proffer   USB
                  Com osite
        138a-i   Patient LB. Compass Admissions     3/11   Bakhshi   USB
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                 Patient D.W. Compass Admission
                  Com osite
         142     Motion Asserting Crime Victim's       3/7    Halloway   File
                 Ri hts - Docket Ent 426
         143     Patient R.H. Memorial Health          3/7    Halloway   File
                 Records
        144a-b   Financial Agreements Compass          3/8    Garnto     File
                  Com osite
         146     Patient E. B. Group Notes War         3/11   Bakhshi    USB
                  Com osite
         147     Patient E. B. Admission and           3/11   Bakhshi    USB
                 Initial Evaluations Com osite
         148     Patient E.B. Concurrent               3/11   Bakhshi    USB
                 Individual Therapy Notes
                  Com osite
         149     ASAM -- Pain and Addiction            3/22   Proffer    File
                 Handbook
         150     Chapter 765 Section 102 - 2017        3/11   Waller     File
                 Florida Statutes - Palliative Care
         151     Corey Waller - Health                 3/11   Waller     File
                 Mana ement Associates
         152     Florida Statues 381. 026 -- Florida   3/11   Waller     File
                 Patient's Bill of Ri hts
         153     Florida Statute 397.334               3/11   Waller     File

         154     Florida Statute 397.501 -- Rights     3/11   Waller     File
                 of Individuals
         155     HMA - Institute On Addiction -        3/11   Waller     File
                 Home
         156     Pain and Addiction Cover              3/11   Waller     File

         157     What Drives Us A Healthier            3/11   Waller     File
                 Nation - Health Management
                 Associates
         158     Patient LB. Fla Life Medical          3/11   Bakhshi    File
                 Records
         159     Bakhshi Plea Agreement                3/11   Bakhshi    File

         160     Bakhshi Factual Basis                 3/11   Bakhshi    File



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        163a-t   Chetsi-Chetsi Call Center           3/11         Bakhshi   File
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         164     Bakhshi and J. Markovich            164E         Bakhshi   File
                 WhatsApp Chats (Composite)          164F
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         167     M.W. Progress Note Therapy 6-       3/16         Munach    File
                 19-2019 WAR
         168     M.W. Progress Note Therapy 7-1-     3/16         Munach    File
                 2019 WAR
         171     Consent for Video Surveillance      3/17         Buteau    File
                 Cod Cole
         172     Medication Consent and              3/17         Buteau    File
                 A reement Lauren Leblanc
         173     Compass War Admissions              Previously             File
                 Summar Charts GX 928                admitted
         175     Patient D.V. POC / Lab              3/18         Pullen    File
                 Com osite
         177     Santeiro POC from August 2020 -     3/18         Pullen    File
                 GX 1204
         178     Census War GX 928                   3/18         Pullen    File

         179     Patient Lab Confirmation Orders     3/18         Pullen    File
                  Com ilation
         180     Forms Creating Using Santeiro's     3/18         Pullen    File
                 Credentials
         181     Screenshots for Zen Charts          3/18         Pullen    File
                  Com osite
         182     Analysis of 0.0.0.0                 3/18         Pullen    File

         183     Forms signed by Santeiro from       3/18         Pullen    File
                 his IP address
         184     Dr. Waller Analysis of War and      3/18         Pullen    File
                 Com ass Census
         185     Santeiro Zen Charts Log In Set      3/18         Pullen    File
                 u
         186     Lab Confirmations Using Dr.         3/18         Pullen    File
                 Santeiro's Signature from 0.0.0.0
                 Gra h Demonstrative

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         187     Excel Spreadsheet of Santeiros       3118           Pullen      File
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         188     Zen Chart User Set Up Screen         3118           Pullen      File
                 Shots
         189     Patient L. L. Medication Orders      3121           Forman      File
                 Sam le
         190     Patient N.S. Medication Orders       3121           Forman      File
                 Sam le
         192     65D-30.004 Common Licensing          3121           Pullen      File
                 Standards.

         193      IPE & HP Assessments Created        3121           Pullen      File
                 by Lieberman and Signed by San-
                 teiro Chart
         194     Patient T.R. Treatment Plan (Ex-     3121           Forman      File
                 ce t
         195     IPE & HP Assessments Created         3121           Pullen      File
                 by Lieberman and Signed by San-
                 teiro Documents Supporting
                 Chart
         196      Evaluation for Patients Analyzed    3/21           Forman      File
                 b Dr. Waller
         199     2020 Compass DCF Application         3121           Proffer     File
                  Com lete
        1001     Liberman Agreed Factual Proffer      3115           Lieberman   File

         1002    Patient J.J. Compass IPEs I          3115           Lieberman   File
                 Readmits Com osite




                                                   Respectfully submitted,

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                                       CERTIFICATE OF SERVICE

             I hereby certify that on March 23, 2022, undersigned electronically filed the foregoing
      document with the Clerk of the Court using CM/ECF which will send notification of such filing
      the United States Attorney's Office, Southern District of Florida.


                                                           Isl Dianne E. Carames
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